Case 4:19-cv-04577-JSW   Document 336-2   Filed 12/31/24   Page 1 of 61




   EXHIBIT 1
      (To the Joint Declaration ISO Motion for
               Preliminary Approval)
     Case 4:19-cv-04577-JSW           Document 336-2         Filed 12/31/24      Page 2 of 61

EXECUTION VERSION



                       SETTLEMENT AGREEMENT AND RELEASE

        This Settlement Agreement and Release (the “Agreement”) is made and effective as of
December 31, 2024 (the “Settlement Date”), by and between (a) Apple Inc., a California
corporation with offices at 1 Apple Park Way, Cupertino, California 95014, (“Apple”); and
(b) Plaintiffs Fumiko Lopez, Fumiko Lopez as guardian of A.L., a minor, John Troy Pappas, and
David Yacubian (“Plaintiffs” or “Named Plaintiffs” or “Class Representatives”), individually and
as representatives of the Settlement Class as defined below, (collectively, the “Parties”) in
accordance with the terms and conditions set forth below.

DEFINITIONS

       As used herein, the following terms have the meanings set forth below:

       1.      “Apple Counsel” means Apple’s counsel of record in this Lawsuit.

       2.    “Attorneys’ Fees and Expenses Payment” means the amount of attorneys’ fees and
reimbursement of costs and expenses awarded to Plaintiffs’ Counsel by the Court from the Gross
Settlement Amount.

       3.      “Claimant” means a Settlement Class Member who has made a claim to a share of
the Net Settlement Amount.

       4.     “Claim Form” means the form for Settlement Class Members to make a claim to a
share of the Net Settlement Amount, and is forthcoming from the Parties.

       5.    “Claim Period” means the period of time ending 135 days after entry of the
Preliminary Approval Order.

      6.     “Class Counsel” means Christian Levis of Lowey Dannenberg, P.C. and Erin Green
Comite of Scott + Scott Attorneys at Law LLP.

       7.   “Class Representatives” or “Plaintiffs” or “Named Plaintiffs” means Fumiko
Lopez, Fumiko Lopez as guardian of A.L., a minor, John Troy Pappas, and David Yacubian.

       8.      “Class Payment” means the amount to be paid to a Claimant who is eligible to
receive a share of the Net Settlement Amount under this Settlement Agreement.

        9.      “Effective Date” means the first day after which all of the following events and
conditions of this Settlement Agreement have occurred or have been met: (a) the Court has entered
a Final Approval Order approving the Settlement, and (b) the Court has entered judgment that has
become final (“Final”) in that the time for appeal or writ of certiorari has expired or, if an appeal
or writ of certiorari is taken and the Settlement is affirmed, the time period during which further
petition for hearing, appeal, or writ of certiorari can be taken has expired. If the Final Judgment
is set aside, materially modified, or overturned by the trial court or on appeal, and is not fully
reinstated on further appeal, the Final Judgment shall not become Final. In the event of an appeal
or other effort to obtain review, the Parties may agree jointly in writing to deem the Effective Date
                                                 1
     Case 4:19-cv-04577-JSW           Document 336-2         Filed 12/31/24      Page 3 of 61

EXECUTION VERSION

to have occurred; however, there is no obligation to agree to advance the Effective Date. Any
order or proceeding relating to the application for an Attorneys’ Fees and Expenses Payment and
Service Awards, the pendency of any such application, or any appeal from any such order, shall
not operate to terminate or cancel this Settlement Agreement, or affect or delay the finality of any
judgment approving the Settlement.

        10.    “Final Approval Hearing” means the hearing at or after which the Court will
determine whether to finally approve the Settlement. The Final Approval Hearing must occur at
least 45 days after the Objection and Exclusion Deadline, or on such date as set by the Court.

      11.     “Final Approval Order” means the final order to be submitted to the Court in
connection with the Final Approval Hearing.

       12.    “Final Judgment” means the judgment finally approving the Settlement and
dismissing with prejudice the claims of the Settlement Class Members.

       13.     “Full Class Notice” means the Notice that will be posted on the Settlement Website
and mailed to any member of the Settlement Class who requests a hard copy, substantially in the
form attached hereto as Exhibit A.

        14.    “Gross Settlement Amount” means $95,000,000.00, which constitutes the total
amount of non-reversionary funds that will comprise the Class Payment; the costs of Notice and
the costs of administering the Settlement, as set forth in Section F below; any Attorneys’ Fees and
Expenses Payment to Plaintiffs’ Counsel awarded by the Court, and any Service Award to the
Class Representatives awarded by the Court, as set forth in Section G below; and any distribution
to the cy pres recipients as set forth in Section B.13 below.

       15.     “Lawsuit” shall mean the litigation first filed on August 7, 2019, styled Lopez et al.
v. Apple Inc., Case No. 4:19-cv-04577 (N.D. Cal.).

        16.    “Net Settlement Amount” means the Gross Settlement Amount, reduced by the sum
of the following amounts: (1) the costs of Notice and the costs of administering the Settlement
(including the payment of any taxes if applicable), as set forth in Section F below; and (2) any
Attorneys’ Fees and Expenses Payment to Plaintiffs’ Counsel awarded by the Court, and any
Service Award to the Class Representatives awarded by the Court, as set forth in Section G below.

       17.     “Non-Monetary Terms” mean the terms described in Section B.14.

       18.     “Notice” means the email and/or postcard notices (substantially in the form
attached hereto as Exhibits B and C) distributed to members of the Settlement Class in connection
with the Settlement; the Full Class Notice (substantially in the form attached hereto as Exhibit A)
available on the Settlement Website and in hard copy upon request; and Publication Notice
pursuant to a notice plan to be developed by the Parties and Settlement Administrator and approved
by the Court, and discussed in Section F.4 below.

     19.    “Notice Date” means the date set forth in the Preliminary Approval Order for
commencing the transmission of Notice. The Notice Date must occur no later than 45 days after


                                                 2
     Case 4:19-cv-04577-JSW           Document 336-2        Filed 12/31/24      Page 4 of 61

EXECUTION VERSION

Apple transmits the Settlement Class Member list to the Settlement Administrator, or on such date
as set by the Court.

       20.     “Objection and Exclusion Deadline” means the date by which a Settlement Class
Member must submit an Objection to this Settlement Agreement to the Court or an exclusion
request to the Settlement Administrator. The Objection and Exclusion Deadline shall be no less
than 60 days after the Notice Date.

       21.    “Plan of Allocation” means the plan for allocating the Net Settlement Amount as
described in Section B of this Settlement Agreement.

       22.    “Plaintiffs’ Counsel” means Mark N. Todzo of Lexington Law Group; Christian
Levis of Lowey Dannenberg, P.C.; Joseph P. Guglielmo and Erin Green Comite of Scott + Scott
Attorneys at Law LLP; and E. Kirk Wood of Wood Law Firm.

       23.    “Preliminary Approval Order” means the order preliminarily approving the
Settlement and providing for Notice to the Settlement Class, the proposed form of which is
attached hereto as Exhibit D.

       24.   “Publication Notice” means a Notice plan to be developed by the Parties and
Settlement Administrator and approved by the Court.

       25.    “Settlement” or “Settlement Agreement” means this agreement and the settlement
and release described herein.

      26.      “Settlement Administrator” means Angeion Group, an independent settlement
administrator, subject to approval of the Court.

      27.     “Service Award” means the award sought by each Class Representative—and
subsequently approved by the Court—in consideration for their service during the course of the
Lawsuit.

        28.    “Settlement Class” means all individual current or former owners or purchasers of
a Siri Device, who reside in the United States and its territories, whose confidential or private
communications were obtained by Apple and/or were shared with third parties as a result of an
unintended Siri activation between September 17, 2014 to the Settlement Date. The Settlement
Class excludes Apple; any entity in which Apple has a controlling interest; Apple’s directors,
officers, and employees; Apple’s legal representatives, successors, and assigns. Also excluded
from the Settlement Class are all judicial officers assigned to this case as well as their staff and
immediate families. The “Class Period” shall be September 17, 2014 to the Settlement Date.

        29.    “Settlement Class Member” means every member of the Settlement Class who does
not validly and timely request exclusion from the Settlement Class.

       30.     “Settlement Date” means the date that this Settlement Agreement becomes fully
executed.



                                                 3
     Case 4:19-cv-04577-JSW           Document 336-2        Filed 12/31/24      Page 5 of 61

EXECUTION VERSION

       31.  “Siri Device” shall mean a Siri-enabled iPhone, iPad, Apple Watch, MacBook,
iMac, HomePod, iPod touch, or Apple TV.

RECITALS

       This Settlement Agreement is made for the following purposes and with reference to the
following facts:

        WHEREAS, a putative class action complaint was filed against Apple on August 7, 2019,
in Lopez et al. v. Apple Inc., Case No. 4:19-cv-04577 (N.D. Cal.), asserting claims for violations
of the California Invasion of Privacy Act, California Unfair Competition Law, California
Consumers Legal Remedies Act, and the Declaratory Judgment Act. A First Amended Complaint
was filed on November 7, 2019, adding two named Plaintiffs, dropping the California Consumer
Legal Remedies Act claim, and adding claims for violations of the Wiretap Act, Stored
Communications Act, common law privacy claims, and a breach of contract claim, which Apple
moved to dismiss. The Court granted Apple’s Motion to Dismiss the First Amended Complaint
on February 10, 2021 (ECF No. 65). A Second Amended Complaint was filed on March 17, 2021,
dropping claims under the Stored Communications Act and one claim under the California
Invasion of Privacy Act, which Apple moved to dismiss. The Court granted-in-part Apple’s
Motion to Dismiss the Second Amended Complaint on September 2, 2021 (ECF No. 77);

        WHEREAS, Plaintiffs sought to represent a nationwide class of “[a]ll individual
purchasers of a Siri Device, who reside in the United States and its territories, and members of
their households, whose conversations were obtained by Apple and/or were shared with third
parties without their consent from at least as early as October 12, 2011 to the present (the ‘Class
Period’)” (ECF No. 70 ¶ 83);

       WHEREAS, the Parties have investigated the facts and analyzed the relevant legal issues
regarding the claims and defenses asserted in this Lawsuit, including through significant motion
practice and extensive discovery;

       WHEREAS, no litigation class has been certified in the Lawsuit;

       WHEREAS, the Parties conducted a mediation with Fouad Kurdi in October 2024 and
continued to negotiate with the mediator’s assistance during the months thereafter;

        WHEREAS, Plaintiffs are represented by Mark N. Todzo of Lexington Law Group;
Christian Levis of Lowey Dannenberg, P.C.; Joseph P. Guglielmo and Erin Green Comite of Scott
+ Scott Attorneys at Law LLP; and E. Kirk Wood of Wood Law Firm;

       WHEREAS, Apple has at all times denied and continues to deny any and all alleged
wrongdoing and liability, specifically denies each of Plaintiffs’ contentions and claims, and
continues to deny that Plaintiffs’ claims and allegations would be suitable for class action status.
This Agreement shall not be construed in any fashion as an admission of liability or wrongdoing
by Apple;



                                                 4
     Case 4:19-cv-04577-JSW           Document 336-2         Filed 12/31/24      Page 6 of 61

EXECUTION VERSION

        WHEREAS, to avoid further costs of litigation, and without admitting liability, Apple and
Plaintiffs, individually and as representatives of the Settlement Class as defined above,
(collectively, the “Parties”) now wish to settle the Lawsuit in its entirety as to the Plaintiffs,
Settlement Class Members, and Apple with respect to all claims arising out of or relating to the
claims made in this Lawsuit. The Parties intend this Settlement Agreement to bind Plaintiffs (both
as the Class Representatives and individually), Apple, Plaintiffs’ Counsel, and Settlement Class
Members.

       NOW, THEREFORE, for good and valuable consideration, the receipt and sufficiency of
which is hereby acknowledged, and intending to be legally bound hereby, the Parties agree as
follows:

TERMS

A.     Confidentiality

        1.      The Parties, Plaintiffs’ Counsel, and Apple Counsel agree that until publication of
this Settlement Agreement by submission to the Court, the terms of this Settlement Agreement and
all associated documents and communications, including the negotiations leading to the execution
of the Settlement Agreement and all submissions and arguments related to the mediation
proceedings, shall not be disclosed by the Parties, Plaintiffs’ Counsel, and Apple Counsel other
than as necessary to finalize and obtain approval of the Settlement and Notice. Upon publication
of the Settlement Agreement by submission to the Court, the nondisclosure obligations set forth in
this paragraph will no longer apply to the four corners of the as-filed Settlement Agreement itself,
but such obligations will continue to apply to all other materials and information covered by this
paragraph, including but not limited to any negotiations leading to the execution of this Settlement
Agreement or related to the mediation. Nothing in this Paragraph shall prohibit Apple from making
general disclosures as necessary to comply with securities laws and other obligations, including to
other parties or professionals involved in this Lawsuit, as well as in its public filings.

        2.      Other than to a court in any case filing or as part of Notice, including Publication
Notice, the Parties, Plaintiffs’ Counsel, and Apple Counsel agree not to initiate publicity regarding
the Settlement or submit information about the Settlement to any publication (apart from that
required for Notice) or compendium of settlements. Notwithstanding the foregoing, Plaintiffs’
Counsel may list the Lawsuit and the terms of the Settlement on their law firm websites and
publicity materials as a representative case along with a neutral and factual description of the
subject matter of the Lawsuit. Any comments made by Plaintiffs’ Counsel concerning the
Settlement or the Lawsuit, including in response to inquiries from the press or the Court for
purposes of obtaining approval of the Settlement, shall be in neutral terms to communicate that the
Lawsuit has been resolved between the Parties and shall not contain inflammatory language about
the Parties or their perceived conduct in the Lawsuit.

        3.      The Parties will continue to comply with the Stipulated Protective Order in this
Lawsuit, including with respect to the requirements of Paragraph 18 thereof, which govern the
return or destruction of any material produced, submitted, or filed under seal under the Stipulated
Protective Order.


                                                 5
     Case 4:19-cv-04577-JSW          Document 336-2        Filed 12/31/24      Page 7 of 61

EXECUTION VERSION


B.     Consideration for Settlement and Class Payments

      1.      Subject to the terms of this Settlement Agreement, Apple’s total financial
commitment under this Settlement Agreement is the Gross Settlement Amount of $95,000,000.00.
Apple shall have no other financial obligations under this Settlement Agreement.

        2.     Within 30 days after an order granting Preliminary Approval of this Settlement,
Apple shall transfer an amount sufficient to cover the Settlement Administrator’s estimated cost
for Notice and administration to the Settlement Administrator. Within 5 days of the Effective
Date, Apple shall transfer the balance of the $95,000,000 to the Settlement Administrator for
distribution of the Settlement fund and any Attorneys’ Fees and Expenses Payment, Service
Award, or further administrative costs, provided there are no appeals that delay the Effective Date
from occurring. If an appeal is filed to challenge final approval, Apple shall transfer the balance
of the $95,000,000 to the Settlement Administrator within 30 days of the Effective Date. The
Settlement Administrator will thereafter manage distribution of the Settlement fund. Any taxes
owed by the Settlement fund will be paid by the Settlement Administrator out of the Settlement
fund. If final approval is not granted for any reason, the balance of the Settlement fund account,
less monies expended toward Settlement administration, shall be returned to Apple within 10
business days.

       3.      The Gross Settlement Amount shall be applied as follows:

               a.     To pay the costs of Notice and the costs of administering the Settlement and
                      any taxes owed by the Settlement fund, as set forth in Section F below;

               b.     To pay any approved Attorneys’ Fees and Expenses Payment to Plaintiffs’
                      Counsel and any Service Award to the Class Representatives, as set forth in
                      Section G below;

               c.     To distribute the Net Settlement Amount to Settlement Class Members as
                      set forth in Sections B.4–B.7 below.

        4.     Plan of Allocation. The Net Settlement Amount will be distributed according to the
following Plan of Allocation, subject to Court approval. The Net Settlement Amount shall be
allocated to Claimants who submit valid Claim Forms during the Claim Period establishing that
they purchased, owned, or used a Siri Device, and that they experienced an unintended Siri
activation during a confidential or private communication.

       5.     Where reasonably practicable, Claim Forms for Settlement Class Members will be
pre-populated with Settlement Class Member contact information. The Claim Form will call for
each Claimant to confirm or update their current contact information.

       6.      The Claim Form will require that the Claimant confirm the following under oath:

               a.     The Claimant purchased or owned a Siri Device in the United States or its
                      territories, and enabled Siri on that device;

               b.     The Claimant experienced at least one unintended Siri activation; and

                                                6
     Case 4:19-cv-04577-JSW          Document 336-2         Filed 12/31/24      Page 8 of 61

EXECUTION VERSION

               c.      At least one unintended Siri activation experienced by the Claimant
                       occurred during a conversation intended to be confidential or private.

        7.      Settlement Class Members may submit claims for up to five Siri Devices on which
they claim to have experienced an unintended Siri activation during a conversation intended to be
confidential or private. Settlement Class Members who submit valid claims shall receive a pro
rata portion of the Net Settlement Amount for a Class Payment up to a cap of $20 per Siri Device.
The amount available to Settlement Class Members will increase or decrease pro rata depending
on the total number of valid claims submitted, and Siri Devices claimed. Depending on the total
number of valid claims, this Plan of Allocation is subject to modification by agreement of the
Parties without further notice to members of the Settlement Class, provided any such modification
is approved by the Court. Settlement Class Members will be given the option of providing
information to the Settlement Administrator to receive payment by physical check, electronic
check or Automated Clearing House (“ACH,” a/k/a direct deposit).

         8.     The Settlement Administrator will review all claims to determine their validity and
eligibility under this Section. The Settlement Administrator will reject any claim that does not
materially comply with the instructions on the Claim Form; is not submitted by a Settlement Class
Member; or is duplicative or fraudulent. To the extent any Claim Form contains curable
deficiencies, the Settlement Administrator shall inform the Claimant of the deficiency via email,
or if no email address is available, by USPS mail, and provide 30 days to cure the deficiency. The
Settlement Administrator’s determinations on the validity and eligibility of Claims shall be final
and non-appealable by Settlement Class Members.

        9.     Upon completion of the Claim Period and after the completion of the Settlement
Administrator’s determination of validity and eligibility of Claims, the Settlement Administrator
will provide Apple Counsel and Class Counsel a spreadsheet detailing the claims that were
submitted, the Settlement Administrator’s determination of validity and eligibility for each claim,
and the reasoning for any rejected claims. Personally identifiable information will not be included
in this spreadsheet. Apple Counsel and Class Counsel shall have 21 days after receiving this
information to contest the Settlement Administrator’s determination with respect to any of the
submitted claims. Apple Counsel and Class Counsel shall meet and confer in good faith within
ten (10) days of any contestation to reach resolution of any such disputed claim(s), and approval
for a claim shall not be withheld without good cause. If Class Counsel and Apple Counsel cannot
agree on a resolution of any such disputed claim(s), the disputed claim(s) shall be presented to the
Court for summary and non-appealable resolution.

        10.     For those Settlement Class Members who submitted a valid claim during the Claim
Period, a transfer reflecting their payment shall be transmitted to Settlement Class Members within
60 calendar days after the Effective Date or as soon as practicable thereafter. Settlement Class
Members who fail to submit a claim during the Claim Period will nonetheless be bound by the
Settlement Agreement, including the releases set forth in Section H, unless they elect to exclude
themselves through the procedure set forth in Section E.

      11.    To the extent economically feasible, the Settlement Administrator shall follow up
and communicate with Settlement Class Members who have not cashed their checks or whose
ACH transfer failed within 60 days of the payment being provided.

                                                 7
     Case 4:19-cv-04577-JSW           Document 336-2         Filed 12/31/24      Page 9 of 61

EXECUTION VERSION

       12.      Following distribution of the Gross Settlement Amount as set forth above, if ACH
transfers to Settlement Class Members fail after 120 days or checks attributable to Settlement Class
Members remain uncashed after 120 days after the Class Payment is distributed pursuant to
Sections B.4–B.7 above, the funds attributable to those individuals shall be deemed forfeited and
used to pay any unanticipated additional costs of Settlement administration as set forth in Section
F.6 below. Under no circumstances will Settlement funds revert to Apple.

        13.    If after paying all Class Payments, Notice and administration expenses, and any
Attorneys’ Fees and Expenses Payment and Service Awards that may be approved by the Court,
there are funds remaining in the Gross Settlement Amount, then Class Counsel and Apple Counsel
shall meet and confer to discuss a proposal to present to the Court regarding a cy pres distribution.
Under no circumstances will Settlement funds revert to Apple.

        14.    Non-Monetary Terms. Without admitting any liability or that it is required to do
so by law, Apple agrees to the Non-Monetary Terms set forth in this paragraph. Nothing described
in this paragraph will inhibit, prevent, or limit Apple from making changes to its Privacy Policy
or other disclosures, or changes to other terminology, from time to time, as it deems appropriate
in the conduct of its business, provided that such changes are consistent with the terms described
in this paragraph or necessary to comply with the law.

               a.      By six months after the Effective Date, Apple will confirm permanent
                       deletion of individual Siri audio recordings collected by Apple prior to
                       October 2019.

               b.      By six months after the Effective Date, Apple will publish a webpage
                       further explaining (1) the process by which users may opt in to the “Improve
                       Siri” option on Siri Devices, and (2) the information Apple stores from users
                       who choose to opt in to Improve Siri.

C.     Obtaining Court Approval of the Agreement

        1.      Settlement Class. Solely for the purposes of Settlement and the proceedings
contemplated herein, the Parties stipulate and agree that Plaintiffs will seek certification of the
Settlement Class and appointment of Class Counsel, which Apple will not oppose. The
certification of the Settlement Class shall be binding only with respect to the Settlement set forth
in the Settlement Agreement.

        2.     Class Counsel will draft the motion requesting issuance of the Preliminary
Approval Order and supporting papers and will provide those drafts to Apple Counsel of record in
the Lawsuit at least three (3) days before filing. The motion and any supporting papers shall be
written in a neutral manner. Apple will not oppose the motion. Apple may, however, provide
feedback concerning the drafts, and Class Counsel will meet and confer with Apple Counsel in
good faith regarding Apple’s feedback.

       3.     Upon filing of the motion requesting issuance of the Preliminary Approval Order,
Apple will provide timely notice of such motion as required by the Class Action Fairness Act, 28
U.S.C. § 1711 et seq. (“CAFA”). Apple will be solely responsible for the cost of the CAFA notice.


                                                 8
     Case 4:19-cv-04577-JSW          Document 336-2         Filed 12/31/24      Page 10 of 61

EXECUTION VERSION

        4.     In accordance with the schedule set in the Preliminary Approval Order, Class
Counsel will draft the motion requesting final approval of the Settlement, the Proposed Final
Approval Order, and the Proposed Final Judgment, and will provide those drafts and drafts of any
other supporting papers to Apple Counsel at least ten (10) days prior to filing. The motion shall
be written in a neutral manner. Apple may provide feedback concerning the motion, and Class
Counsel will meet and confer with Apple Counsel in good faith regarding Apple’s feedback.

         5.      In the event that the Settlement Agreement is not approved, or in the event its
approval is conditioned on any modifications (including modifications to the proposed form and
method of notice) that are not acceptable to Apple, then (a) this Settlement Agreement shall be
null and void and of no force and effect, (b) any payments of the Gross Settlement Amount and
any and all interest earned thereon less monies expended toward Settlement administration, shall
be returned to Apple within 10 business days from the date the Settlement Agreement becomes
null and void, and (c) any release shall be of no force or effect. In such event, the Lawsuit will
revert to the status that existed before the Settlement Agreement’s execution date, the Parties shall
each be returned to their respective procedural postures so that the Parties may take such litigation
steps that they otherwise would have been able to take absent the pendency of this Settlement, and
neither the Settlement Agreement nor any facts concerning its negotiation, discussion, terms, or
documentation shall be admissible in evidence for any purpose in this Lawsuit or in any other
litigation.

D.     Objections

        1.      Any Settlement Class Member who has not submitted a timely written request for
exclusion and who wishes to object to the fairness, reasonableness, or adequacy of the Settlement,
or to the requested attorneys’ fees and expenses or service awards, must comply with the following
requirements.

       2.      Procedural Requirements. Any objections from Settlement Class Members
regarding the proposed Settlement Agreement, proposed Plan of Allocation, Attorneys’ Fees and
Expense Payment, or Service Awards must be submitted in writing to the Court. If a Settlement
Class Member does not submit a timely written objection, the Settlement Class Member will not
be able to participate in the Final Approval Hearing.

       3.      Deadline. Objections must be submitted by the Objection and Exclusion Deadline.

               a.      If submitted through ECF, objections must be submitted on or before the
                       Objection and Exclusion Deadline by 11:59 p.m. Pacific Time.

               b.      If submitted by U.S. mail, objections must be postmarked by the Objection
                       and Exclusion Deadline. The date of the postmark on the envelope
                       containing the written statement objecting to the Settlement will be the
                       exclusive means used to determine whether an objection and/or intention to
                       appear has been timely submitted. In the event a postmark is illegible or
                       unavailable, the date of mailing will be deemed to be three days prior to the
                       date that the Court posts the objection on the electronic case docket.

       4.      Mandatory Content. All objections must be in writing and must:
                                                 9
     Case 4:19-cv-04577-JSW           Document 336-2         Filed 12/31/24       Page 11 of 61

EXECUTION VERSION

               a.      Include the full name, address, telephone number, and email address of the
                       objector and any counsel representing the objector;

               b.      Clearly identify the case name and number: Lopez et al. v. Apple Inc., Case
                       No. 4:19-cv-04577 (N.D. Cal.);

               c.      Include information sufficient to verify that the objector is a Settlement
                       Class Member;

               d.      Include a detailed statement of the grounds and evidence upon which the
                       objection is based;

               e.      State whether the objection applies only to the objector, to a specific subset
                       of the class, or to the entire class;

               f.      Include a list of all cases in which the objector or his or her counsel has filed
                       an objection within the past five years; and

               g.      Be personally signed and dated by the objector.

       5.    Settlement Class Members who fail to submit timely written objections in the
manner specified above shall be deemed to have waived any objections and shall be foreclosed
from making any objection to the Agreement and the proposed Settlement by appearing at the
Final Approval Hearing, or through appeal, collateral attack, or otherwise.

        6.      Any objector who timely submits an objection has the option to appear and request
to be heard at the Final Approval Hearing, either in person or through the objector’s counsel. Any
objector wishing to appear and be heard at the Final Approval Hearing must include a Notice of
Intention to Appear in the body of the objector’s objection. If an objector makes an objection
through an attorney, the objector shall be solely responsible for the objector’s attorneys’ fees and
expenses. Counsel for any objector seeking to appear at the Final Approval Hearing must enter a
Notice of Appearance no later than 14 days before that hearing.

      7.      At no time shall any of the Parties or their counsel seek to solicit or otherwise
encourage Settlement Class Members to submit written objections to the Settlement or encourage
an appeal from the Court’s Final Approval Order.

      8.     A Settlement Class Member who objects to the Settlement may also submit
payment information, which shall be processed in the same manner as all other payment
information.

       9.      The Class Representatives, Class Counsel, and/or Apple may file responses to any
timely written objections no later than seven (7) days prior to the Final Approval Hearing.

E.     Exclusions.

       1.    Requests for Exclusion. The Email Notice, as well as the Full Class Notice, will
advise all members of the Settlement Class of their right to exclude themselves from the

                                                 10
     Case 4:19-cv-04577-JSW          Document 336-2         Filed 12/31/24      Page 12 of 61

EXECUTION VERSION

Settlement. This Settlement Agreement will not bind members of the Settlement Class who
exclude themselves from the Settlement. No member of the Settlement Class (or any other person)
may request exclusion from the Settlement Class for anyone but himself, herself, or themself.

        2.     Requesting Process. To request to be excluded from the Settlement, members of
the Settlement Class must timely submit a written request for exclusion. The request for exclusion
may be sent by U.S. mail to the Settlement Administrator, which will be responsible for receiving
and processing requests for exclusion. The request for exclusion must include the Settlement Class
Member’s name, address, and telephone number, be personally signed and dated by the Settlement
Class Member, and contain a clear request that the individual would like to “opt out” or be
excluded, by use of those or other words clearly indicating a desire not to participate in the
Settlement.

      3.     Deadline. To be excluded from the Settlement, the request for exclusion must be
postmarked by the Objection and Exclusion Deadline.

        4.     Effect of Exclusion. Any person who is a member of the Settlement Class and who
validly and timely requests exclusion from the Settlement shall not be a Settlement Class Member;
shall not be bound by the Agreement; shall not be eligible to apply for or receive any benefit under
the terms of the Agreement; and shall not be entitled to submit an objection to the Settlement. If
a Settlement Class Member submits both a Claim Form and a timely exclusion request, the
exclusion shall take precedence and be considered valid and binding unless it is withdrawn.

         5.      Exclusion List. No later than 14 days after the Objection and Exclusion Deadline,
the Settlement Administrator will provide Class Counsel and Apple Counsel with the number of
persons who have timely and validly excluded themselves from the Settlement. If the number of
Settlement Class members who elect to exclude themselves from the Settlement Class exceeds the
threshold agreed to by the Parties and confidentially submitted to the Court in camera, Apple, in
its sole discretion, may elect to reject this Settlement, in which case the entire Agreement shall be
null and void. Alternatively, Apple may elect to waive this condition and proceed with the
Settlement. Any such waiver by Apple must be unambiguous and in writing.

F.     Notice and Settlement Administration

       1.     Notice and Settlement administration will be performed by Angeion Group, subject
to approval by the Court. The Settlement Administrator will be paid from the Gross Settlement
Amount.

        2.     The Settlement Administrator shall perform the duties, tasks, and responsibilities
associated with providing Notice and administering the Settlement, including the following:
(a) preparing and disseminating Notice to the Settlement Class substantially in the forms attached
hereto as Exhibits A-C; (b) working with the Parties to develop a plan for Publication Notice;
(c) maintaining the Settlement website; (d) communicating with Settlement Class Members for
the purpose of administering and processing their claims, including keeping track of requests for
exclusion and objections to the Settlement, including maintaining the original envelope in which
they were mailed (or an electronic copy thereof); (e) delivering to Apple Counsel and Class
Counsel copies of any requests for exclusion, objections, or, upon request of Apple Counsel or

                                                 11
    Case 4:19-cv-04577-JSW           Document 336-2        Filed 12/31/24      Page 13 of 61

EXECUTION VERSION

Class Counsel, other written or electronic communications from the Settlement Class; (f)
determining the validity of claims and making distributions to Settlement Class Members; (g)
performing any tax reporting duties required by this Agreement and federal, state, or local law; (h)
maintaining adequate records of all its activities, including the dates of transmission of Notice,
Full Class Notice, and Email Notice, returned mail, and other communications and attempted
written or electronic communications with the Settlement Class; (i) advising on whether
supplemental notice is necessary; (j) confirming in writing its completion of the administration of
the Settlement; and (k) such other tasks as Apple Counsel and Class Counsel mutually agree.

        3.     Apple will provide by secure means to the Settlement Administrator (but not to
Class Counsel) the names, last known mailing addresses, and email addresses for all members of
the Settlement Class for whom it has records no later than thirty (30) days after entry of the
Preliminary Approval Order. The Settlement Administrator will administer the Notice described
herein and in accordance with the Preliminary Approval Order. The Settlement Administrator will
keep identities and contact information of members of the Settlement Class strictly confidential,
using them only for purposes of administrating this Settlement. In consultation with the Parties,
the Settlement Administrator may utilize methods to correct any incorrect email addresses of
Settlement Class members for purposes of effectuating Notice.

       4.      Notice will be provided via email to members of the Settlement Class for whom
Apple has an email address and for whom the Settlement Administrator is able to identify email
addresses. The Settlement Administrator shall publish in a digital media campaign, and may
potentially publish in print publications, a Publication Notice substantially in the form of Email
Notice and Full Class Notice as described below. The Publication Notice shall inform Settlement
Class Members of the fact of the Settlement and that Settlement information is available on the
Settlement Website. Following dissemination of Email Notice and Publication Notice, the Parties
will confer with the Settlement Administrator to determine whether additional email, direct
postcard, or publication notice to some or all of the Settlement Class is warranted and cost-
effective.

      5.     The Parties agree upon and will seek Court approval of the following forms and
methods of notice to members of the Settlement Class:

               a.      Settlement Website. The Settlement Administrator will establish and
                       maintain a Settlement Website with a mutually acceptable domain name.
                       The Settlement Website will be optimized for viewing on both mobile
                       devices and personal computers. The Settlement Website will include,
                       without limitation, the Full Class Notice in downloadable PDF format, this
                       Agreement, the operative Second Amended Complaint and Apple’s Answer
                       thereto, the Preliminary Approval Order as entered and publicly filed
                       motion papers and declarations in support thereof, Plaintiffs’ motion for
                       attorneys’ fees and expenses, Plaintiffs’ motion for final approval of class
                       action settlement, a set of frequently asked questions and answers, and
                       information on how to object or request exclusion, as well as contact
                       information for Class Counsel and the Settlement Administrator. The
                       Settlement website will include a readily accessible means for members of
                       the Settlement Class to electronically submit a Claim Form and their

                                                12
    Case 4:19-cv-04577-JSW          Document 336-2         Filed 12/31/24     Page 14 of 61

EXECUTION VERSION

                      payment information. The Settlement Website will explain how Class
                      Payment will be distributed. The Settlement Website shall remain
                      accessible until thirty (30) calendar days after the Settlement Administrator
                      has completed its obligations under this Settlement Agreement.

               b.     Toll-Free Number. The Settlement Administrator will establish a toll-free
                      telephone number (the “Toll-Free Number”) where members of the
                      Settlement Class can receive instructions for accessing Settlement
                      information and case documents.

               c.     Email Notice. The Settlement Administrator will email each member of the
                      Settlement Class for whom an email address can be identified a copy(ies)
                      of the Email Notice substantially in the form attached hereto as Exhibit B.

               d.     Postcard Notice. Following dissemination of Email Notice and Publication
                      Notice, the parties will confer with the Settlement Administrator to
                      determine whether additional email, direct postcard or publication notice to
                      some or all of the Settlement Class is warranted and cost-effective. To the
                      extent a postcard notice is sent, the Settlement Administrator may mail to
                      each such member of the Settlement Class the postcard notice substantially
                      in the form attached hereto as Exhibit C. Before mailing the postcard notice,
                      the Settlement Administrator shall update the addresses provided by Apple
                      with the National Change of Address database. All postcard notices
                      returned by the U.S. Postal Service with a forwarding address will be re-
                      mailed to that address.

               e.     Full Class Notice. The Settlement Administrator shall post the Full Class
                      Notice on the Settlement Website and mail or email the Full Class Notice
                      to any Settlement Class member who requests a copy.

               f.     Publication Notice. The Parties and Settlement Administrator shall
                      develop a publication notice plan to be submitted to the Court for approval
                      as described in Section F.4. Apple shall approve the content, design, layout,
                      placement, medium, timing, duration, targeting parameters, and target
                      audience for all publications, posts, and advertisements under this Section,
                      and approval shall not be withheld without good cause. The Publication
                      Notice shall inform Settlement Class Members of the fact of the Settlement
                      and that Settlement information is available on the Settlement Website.

        6.      Based on information provided by the Parties to date, the Settlement Administrator
has agreed to perform all settlement notice and administration duties required by the Settlement
Agreement at a cost of approximately $5,975,000. This amount shall cover all costs and expenses
related to the Settlement administration functions to be performed by the Settlement Administrator,
including providing Notice and the Settlement Website, and performing the other administration
processes described in this Agreement, based on the assumptions provided to the Settlement
Administrator. In the event that unanticipated costs and expenses arise in connection with the
notice and/or administration process, such that they exceed the estimated amount of $5,975,000,

                                                13
     Case 4:19-cv-04577-JSW          Document 336-2        Filed 12/31/24      Page 15 of 61

EXECUTION VERSION

the Settlement Administrator shall promptly raise the matter with Apple Counsel and Class
Counsel as soon as practicable after becoming aware of the unanticipated costs and expenses. If
both Apple Counsel and Class Counsel, acting in good faith, agree that unanticipated costs and
expenses justify an increase to the amount payable to the Settlement Administrator in excess of
the agreed-upon estimate, then the amount in excess of the estimated amount shall be paid for
exclusively from the Gross Settlement Amount. Under no circumstances will Apple be responsible
for any costs of Settlement administration in excess of its contribution to the Gross Settlement
Amount.

        7.     The Full Class Notice and Settlement Website shall provide information on the
procedure by which members of the Settlement Class may request exclusion or submit an objection
to the Settlement. Other forms of Notice will direct Settlement Class Members to review the Full
Class Notice and Settlement Website for these procedures.

G.     Attorneys’ Fees, Expenses, and Service Awards

        1.       Class Counsel will apply to the Court for Service Awards for the Named Plaintiffs
not to exceed $10,000 per person. The Service Awards are not a measure of damages, but instead
are solely an award for the Named Plaintiffs’ services, time, and effort on behalf of the members
of the Settlement Class. Apple reserves the right to object to or oppose Class Counsel’s requests
for Service Awards. Service Awards approved by the Court shall be paid from the Gross
Settlement Amount. Class Counsel shall provide Form W-9s for the Named Plaintiffs receiving a
Service Award, and for Class Counsel, within 5 days after the Effective Date. The Settlement
Administrator shall distribute the Service Awards to accounts specified by Class Counsel no later
than 10 days after the later of the Effective Date or the receipt of the Named Plaintiffs’ Form W-
9s. provided there are no appeals that delay the Effective Date from occurring, or, if an appeal is
filed to challenge final approval, within 35 days after the Effective Date. This Settlement is not
conditioned upon the Court awarding the amounts sought by the Named Plaintiffs as a Service
Award. If the amounts awarded by the Court are less than what was sought by the Named
Plaintiffs, the remaining provisions of this Settlement Agreement shall be binding and effective.

        2.      The Parties have reached no agreement on the amount of attorneys’ fees and
expenses that Plaintiffs’ Counsel will seek from the Gross Settlement Amount. Plaintiffs’ Counsel
will apply to the Court for reasonable fees and expenses from the Gross Settlement Amount, Apple
reserves the right to object to or oppose Class Counsel’s requests for attorneys’ fees and expenses.
Plaintiffs’ Counsel reserve their rights to oppose any objection by Apple. The Settlement
Administrator shall pay Plaintiffs’ Counsel any Court-approved Attorneys’ Fees and Expense
Payment no later than 10 days after the later of the Effective Date or the receipt of Plaintiffs’
Counsel’s Form W-9s, provided there are no appeals that delay the Effective Date from occurring,
or, if an appeal is filed to challenge final approval, within 35 days after the Effective Date.
Plaintiffs’ Counsel’s Motion for attorneys’ fees and expenses shall be filed at least 35 days before
the Objection and Exclusion Deadline and shall be posted on the Settlement Website within 3 days
of it being filed.

        3.     In no event shall Apple have any liability to any Plaintiffs’ Counsel, or any other
counsel who have represented Named Plaintiffs at any time in this Lawsuit, regarding the
allocation of the fee and expense payment among Plaintiffs’ Counsel.

                                                14
     Case 4:19-cv-04577-JSW           Document 336-2         Filed 12/31/24      Page 16 of 61

EXECUTION VERSION

        4.      Apple shall not be liable for any additional fees or expenses of Named Plaintiffs or
any members of the Settlement Class in connection with the Lawsuit. Plaintiffs’ Counsel agree
that they will not seek any additional fees or costs from Apple in connection with the Lawsuit or
the Settlement of the Lawsuit beyond the approved Attorneys’ Fees and Expense Payment. Apple
expressly agrees that it will not seek to recover its Court costs, attorneys’ fees, or expenses once
the Court enters a Final Approval Order and Final Judgment.

        5.     This Settlement is not conditioned upon the Court awarding the amounts sought by
Plaintiffs’ Counsel as a fee and expense payment. If the amounts awarded by the Court are less
than what was sought by Plaintiffs’ Counsel, the remaining provisions of this Settlement
Agreement shall be binding and effective.

H.     Releases

         1.     Except as otherwise set forth herein or as to obligations created hereby, upon the
Effective Date, Named Plaintiffs and Settlement Class Members, on their own behalf and on behalf
of their present and former principals, agents, servants, partners, joint venturers, employees,
contractors, predecessors, assigns, heirs, spouses, beneficiaries, executors, administrators,
representatives, insurers, underwriters, accountants, and lawyers (collectively, the “Releasing
Parties”), separately and collectively, will release and discharge Apple and each of its present and
former principals, agents, servants, partners, joint venturers, directors, officers, managers,
employees, contractors, predecessors, successors, assigns, administrators, representatives, parents,
shareholders, subsidiaries, affiliates, insurers, underwriters, accountants, and lawyers
(collectively, the “Apple Released Parties”), separately and collectively, from any and all damages,
suits, claims, debts, demands, assessments, obligations, liabilities, attorneys’ fees, costs, expenses,
rights of action and causes of action, of any kind or character whatsoever, whether based on
contract (express, implied, or otherwise), statute, or any other theory of recovery, and whether for
compensatory or punitive damages, and whether asserted or unasserted, known or unknown,
suspected or unsuspected, occurring before the Effective Date of the Settlement (the “Named
Plaintiffs and Settlement Class Members’ Released Matters”) arising out of or related to the
allegations in the Complaint or the facts underlying the Complaint, including claims that, without
the user’s consent, Apple recorded, disclosed to third parties, or failed to delete, conversations
recorded as the result of a Siri activation. This release will include claims relating to the Named
Plaintiffs and Settlement Class Members’ Released Matters of which the Releasing Parties are
presently unaware or which the Releasing Parties do not presently suspect to exist which, if known
to the Releasing Parties, would materially affect the Releasing Parties’ release of the Apple
Released Parties.

         2.     Except as otherwise set forth herein or as to obligations created hereby, Apple will
be deemed to have completely released and forever discharged Plaintiffs and Class Counsel from
and for any and all liabilities, claims, cross-claims, causes of action, rights, actions, suits, debts,
liens, contracts, agreements, damages, costs, attorneys’ fees, losses, expenses, obligations, or
demands of any kind whatsoever, whether known or unknown, existing or potential, or suspected
or unsuspected, whether raised by claim, counterclaim, setoff, or otherwise, including any known
or unknown claims, which they have or may claim now or in the future to have, relating to the
institution, prosecution, or settlement of the Lawsuit, except for claims relating to the enforcement


                                                 15
     Case 4:19-cv-04577-JSW          Document 336-2         Filed 12/31/24      Page 17 of 61

EXECUTION VERSION

of the Settlement or this Agreement, and for the submission of false or fraudulent claims for
Settlement benefits.

        3.     The Parties mutually and expressly acknowledge and agree that this Agreement
fully and finally releases and fully resolves the claims released in Sections H.1 and H.2 above,
including any claims that may not be known. Accordingly, the Parties expressly waive all of their
rights under Cal. Civil Code § 1542, which provides that:

       A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS THAT THE CREDITOR
       OR RELEASING PARTY DOES NOT KNOW OR SUSPECT TO EXIST IN HIS OR
       HER FAVOR AT THE TIME OF EXECUTING THE RELEASE AND THAT, IF
       KNOWN BY HIM OR HER, WOULD HAVE MATERIALLY AFFECTED HIS OR HER
       SETTLEMENT WITH THE DEBTOR OR RELEASED PARTY.

       4.      The Parties also expressly waive all rights under any other statutes, legal decisions,
or common law principles of similar effect to Cal. Civil Code § 1542, whether under the law of
California or any other jurisdiction.

       5.     The Parties are aware that they may hereafter discover claims or facts in addition
to or different from those they now know or believe to be true with respect to the matters
underlying the Lawsuit. In furtherance of the Parties’ intent, the release of the Named Plaintiffs
and Settlement Class Members’ Released Matters shall remain in full and complete effect
notwithstanding discovery or existence of any additional or different claims or facts.

       6.      The amount of the Class Payment pursuant to this Agreement will be deemed final
and conclusive against all Settlement Class Members, who will be bound by all of the terms of this
Agreement and the Settlement, including the terms of the judgment to be entered in the Lawsuit
and the releases provided for herein.

       7.     No person shall have any claim of any kind against the Parties, their counsel, or the
Settlement Administrator with respect to the Settlement and the matters set forth herein, or based
on determinations or distributions made substantially in accordance with this Agreement, the Final
Approval Order, the Final Judgment, or further order(s) of the Court.

I.     Apple’s Denial of Liability; Agreement As Defense In Future Proceedings

        1.       This Agreement is made in compromise of any and all claims that Plaintiffs have
or may have against Apple related in any way to the Lawsuit, including all claims, allegations, and
products discussed therein. This Agreement shall not be construed in any fashion as an admission
of liability or wrongdoing by Apple. Apple specifically denies having engaged in any wrongdoing
whatsoever. Plaintiffs and their counsel further agree that this Agreement shall not be admissible
in any court or other forum for any purpose other than the enforcement of its terms or if required
for legal or accounting purposes.

       2.     To the extent permitted by law, neither this Agreement, nor any of its terms or
provisions, nor any of the negotiations or proceedings connected with it, shall be offered as
evidence or received in evidence in any pending or future civil, criminal, or administrative action


                                                 16
     Case 4:19-cv-04577-JSW          Document 336-2         Filed 12/31/24      Page 18 of 61

EXECUTION VERSION

or proceeding to establish any liability or admission by Apple, or to establish the truth of any of
the claims or allegations alleged in the Lawsuit.

       3.      Neither the Agreement nor anything that the Parties said or did during the
negotiation of the Agreement shall be construed or used in any manner as an admission of liability
or evidence of any Party’s fault, liability, or wrongdoing of any kind, nor as an admission of any
lack of merit of the causes of action asserted in the Lawsuit.

       4.     To the extent permitted by law, the Agreement may be pleaded or invoked as a full
and complete defense to, and may be used as the basis for an injunction against, any action, suit,
or other proceeding which may be instituted, prosecuted, or attempted for the Named Plaintiffs
and Settlement Class Members’ Released Matters.

J.     Miscellaneous

       1.       Extensions of Time. All time periods and dates described in this Agreement are
subject to the Court’s approval. Unless otherwise ordered by the Court, the Parties through their
counsel may jointly agree to reasonable extensions of time to carry out any of the provisions of
this Agreement. These time periods and dates may be changed by the Court or the Parties’
counsel’s written consent without notice to the Settlement Class.

       2.     Entire Agreement. This Settlement Agreement contains the entire agreement
between the Parties and constitutes the complete, final, and exclusive embodiment of their
agreement with respect to the Lawsuit. This Settlement Agreement is executed without reliance
on any promise, representation, or warranty by any Party or any Party’s representative other than
those expressly set forth in this Settlement Agreement.

         3.      Applicable Law and Jurisdiction. The laws of the State of California, without regard
to its conflict or choice of law provisions, shall govern this Agreement. The Parties agree that any
dispute relating to this Settlement Agreement shall be subject to the exclusive jurisdiction of the
United States District Court for the Northern District of California. Each Party submits itself to
the exclusive jurisdiction and venue of that court. If any such action is brought, the prevailing
party shall be entitled to recover reasonable attorneys’ fees.

       4.      Gender and Plurals. As used in this Agreement, the masculine, feminine, or neuter
gender, and the singular or plural number, shall each be deemed to include the others whenever
the context so indicates.

       5.    Survival of Warranties and Representations. The warranties and representations of
this Agreement are deemed to survive the date of execution hereof.

        6.      Cooperation of Parties. The Parties to this Agreement and their counsel agree to
prepare and execute all documents, to seek Court approvals, to defend Court approvals, and to do
all things reasonably necessary to complete and obtain approval of the Settlement.

       7.     Counterparts. This Agreement may be executed in any number of counterparts,
each of which shall be deemed an original, but all of which together shall constitute one and the
same instrument, even though all Parties do not sign the same counterparts.

                                                17
    Case 4:19-cv-04577-JSW            Document 336-2         Filed 12/31/24      Page 19 of 61

EXECUTION VERSION


        8.      Severability. If any provision of this Settlement Agreement is declared by the Court
to be invalid, void, or unenforceable, the remaining provisions of this Settlement Agreement will
continue in full force and effect, unless the provision declared to be invalid, void, or unenforceable
is material, at which point the Parties shall attempt to renegotiate the Settlement Agreement or, if
that proves unavailing, either Party can terminate the Settlement Agreement without prejudice to
any Party.

        9.      Warranties and Representations. Each person executing this Agreement in a
representative capacity represents and warrants that he or she is empowered to do so. This
Agreement is executed voluntarily by each of the Parties without any duress or undue influence
on the part, or on behalf, of any of them. The Parties represent and warrant to each other that they
have read and fully understand the provisions of this Agreement and have relied on the advice and
representation of legal counsel of their own choosing. Each of the Parties has cooperated in the
drafting and preparation of this Agreement and has been advised by counsel regarding the terms,
effects, and consequences of this Agreement. Accordingly, in any construction or interpretation
to be made of this Agreement, this Agreement shall not be construed as having been drafted solely
by any one or more of the Parties or their counsel. The Settlement Agreement has been, and must
be construed to have been, drafted by all Parties and their counsel, so that any rule that construes
ambiguities against the drafter will have no force or effect.

       10.    Communications. All communications required under this Agreement shall be in
writing and shall be sent overnight and regular mail to the addressees listed below:

       If to Apple:

               Apple Inc.
               1 Apple Park Way, MS:60-1NYJ
               Cupertino, California 95014
               Attn: Chief Litigation Counsel

       With copy to:

               Arturo J. González
               AGonzalez@mofo.com
               Alexis A. Amezcua
               AAmezcua@mofo.com
               MORRISON & FOERSTER LLP
               425 Market Street
               San Francisco, CA 94105-2482
               Tel.: 415.268.7000
               Fax: 415.268.7522

       If to Plaintiffs:

               Christian Levis
               LOWEY DANNENBERG, P.C.
               44 South Broadway, Suite 1100

                                                 18
    Case 4:19-cv-04577-JSW          Document 336-2         Filed 12/31/24     Page 20 of 61

EXECUTION VERSION

               White Plains, NY 10601
               Telephone: (914) 997-0500
               Facsimile: (914) 997-0035
               clevis@lowey.com

               Joseph P. Guglielmo
               Erin Green Comite
               SCOTT+SCOTT ATTORNEYS AT LAW LLP
               The Helmsley Building
               230 Park Avenue, 24th Floor
               New York, NY 10169-1820
               Telephone: (212) 223-6444
               Facsimile: (212) 223-6334
               jguglielmo@scott-scott.com
               ecomite@scott-scott.com

       11.     Modification and Amendment. This Agreement may be amended or modified only
by a written instrument signed by the Parties’ counsel and approved by the Court.

        12.     Any and all disputes arising out of or related to the Settlement or this Settlement
Agreement must be brought by the Parties and/or each member of the Settlement Class exclusively
in this Court. The Parties and each member of the Settlement Class hereby irrevocably submit to
the exclusive and continuing jurisdiction of the Court for any suit, action, proceeding, or dispute
arising out of or related to the Settlement or this Agreement.




                                                19
   Case 4:19-cv-04577-JSW        Document 336-2     Filed 12/31/24    Page 21 of 61

EXECUTION VERSION


IN WITNESS WHEREOF, the Parties hereto have caused this Agreement to be executed by each
Party or its duly authorized representative as set forth below.



____________________________
Fumiko Lopez
Plaintiff



____________________________
Fumiko Lopez as guardian of A.L., a minor
Plaintiff



____________________________
John Troy Pappas
Plaintiff



____________________________
David Yacubian
Plaintiff



____________________________
Mark N. Todzo
LEXINGTON LAW GROUP
For the Plaintiffs



____________________________
Christian Levis
LOWEY DANNENBERG, P.C.
For the Plaintiffs



____________________________
Erin Green Comite
SCOTT+SCOTT ATTORNEYS AT LAW LLP
For the Plaintiffs

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    Case 4:19-cv-04577-JSW        Document 336-2    Filed 12/31/24    Page 22 of 61




IN WITNESS WHEREOF, the Parties hereto have caused this Agreement to be executed by each
Party or its duly authorized representative as set forth below.




____________________________
Fumiko Lopez
Plaintiff



____________________________
Fumiko Lopez as guardian of A.L., a minor
Plaintiff



____________________________
John Troy Pappas
Plaintiff



____________________________
David Yacubian
Plaintiff



____________________________
Mark N. Todzo
LEXINGTON LAW GROUP
For the Plaintiffs



____________________________
Christian Levis
LOWEY DANNENBERG, P.C.
For the Plaintiffs



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____________________________
Erin Green Comite
SCOTT+SCOTT ATTORNEYS AT LAW LLP

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                   Case 4:19-cv-04577-JSW         Document 336-2   Filed 12/31/24   Page 23 of 61




             IN WITNESS WHEREOF, the Parties hereto have caused this Agreement to be executed by each
             Party or its duly authorized representative as set forth below.




             ____________________________
             Fumiko Lopez
             Plaintiff



             ____________________________
             Fumiko Lopez as guardian of A.L., a minor
             Plaintiff



             ____________________________
             John Troy Pappas
             Plaintiff



             ____________________________
             David Yacubian
             Plaintiff



             ____________________________
             Mark N. Todzo
             LEXINGTON LAW GROUP
             For the Plaintiffs



             ____________________________
             Christian Levis
             LOWEY DANNENBERG, P.C.
             For the Plaintiffs



             ____________________________
             Erin Green Comite
             SCOTT+SCOTT ATTORNEYS AT LAW LLP

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                  Case 4:19-cv-04577-JSW          Document 336-2   Filed 12/31/24   Page 24 of 61




             IN WITNESS WHEREOF, the Parties hereto have caused this Agreement to be executed by each
             Party or its duly authorized representative as set forth below.




             ____________________________
             Fumiko Lopez
             Plaintiff



             ____________________________
             Fumiko Lopez as guardian of A.L., a minor
             Plaintiff



             ____________________________
             John Troy Pappas
             Plaintiff



             ____________________________
             David Yacubian
             Plaintiff



             ____________________________
             Mark N. Todzo
             LEXINGTON LAW GROUP
             For the Plaintiffs



             ____________________________
             Christian Levis
             LOWEY DANNENBERG, P.C.
             For the Plaintiffs



             ____________________________
             Erin Green Comite
             SCOTT+SCOTT ATTORNEYS AT LAW LLP

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    Case 4:19-cv-04577-JSW        Document 336-2    Filed 12/31/24    Page 25 of 61




IN WITNESS WHEREOF, the Parties hereto have caused this Agreement to be executed by each
Party or its duly authorized representative as set forth below.



____________________________
Fumiko Lopez
Plaintiff



____________________________
Fumiko Lopez as guardian of A.L., a minor
Plaintiff



____________________________
John Troy Pappas
Plaintiff



____________________________
David Yacubian
Plaintiff



____________________________
Mark N. Todzo
LEXINGTON LAW GROUP
For the Plaintiffs



____________________________
Christian Levis
LOWEY DANNENBERG, P.C.
For the Plaintiffs



____________________________
Erin Green Comite
SCOTT+SCOTT ATTORNEYS AT LAW LLP
For the Plaintiffs

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             For the Plaintiffs



             ____________________________
             E. Kirk Wood
             WOOD LAW FIRM
             For the Plaintiffs



             ____________________________
             Alexis A. Amezcua
             MORRISON & FOERSTER LLP
             For the Defendant Apple Inc.



             _______________________________
             Jennifer Brown
             Director, Commercial Litigation
             Apple Inc.




                                                     21
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   Case 4:19-cv-04577-JSW      Document 336-2   Filed 12/31/24   Page 27 of 61




____________________________
E. Kirk Wood
WOOD LAW FIRM
For the Plaintiffs



____________________________
Alexis A. Amezcua
MORRISON & FOERSTER LLP
For the Defendant Apple Inc.



_______________________________
Jennifer Brown
Director, Commercial Litigation
Apple Inc.




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     Case 4:19-cv-04577-JSW   Document 336-2   Filed 12/31/24   Page 28 of 61

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Case 4:19-cv-04577-JSW   Document 336-2   Filed 12/31/24   Page 29 of 61




   EXHIBIT A
               (To the Settlement Agreement)
     Case 4:19-cv-04577-JSW             Document 336-2         Filed 12/31/24        Page 30 of 61

CONFIDENTIAL DRAFT SUBJECT TO FRE 408


            NOTICE OF PROPOSED CLASS ACTION SETTLEMENT
    UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA
                 A court authorized this Notice. This is not a solicitation from a lawyer.



If you owned or purchased a Siri-enabled device and experienced an
     unintended Siri activation during a confidential or private
   communication between September 17, 2014 and December 31,
 2024, you should read this Notice as it may impact your legal rights
•    A settlement has been reached with Apple Inc. (“Apple”) in a class action lawsuit brought on
     behalf of current or former owners or purchasers of a Siri-enabled iPhone, iPad, Apple Watch,
     MacBook, iMac, HomePod, iPod touch, or Apple TV (“Siri Device/Devices”) whose
     confidential or private communications were allegedly obtained by Apple and/or shared with
     third parties as a result of an unintended Siri activation. Apple denies all of the allegations
     made in the lawsuit and denies that Apple did anything improper or unlawful.

•    The Settlement provides for a $95 million fund for payments to Settlement Class Members
     who are individual current or former owners or purchasers of a Siri Device, who reside in the
     United States or its territories, and whose confidential communications were obtained by Apple
     and/or were shared with third parties as a result of an unintended Siri activation. The
     Settlement Class excludes Apple; any entity in which Apple has a controlling interest; Apple’s
     directors, officers, and employees; Apple’s legal representatives, successors, and assigns. Also
     excluded from the Settlement Class are all judicial officers assigned to this case as well as their
     staff and immediate families. The Class Period is September 17, 2014 to December 31, 2024.

•    If you believe you are a Settlement Class Member, you must submit a valid Claim Form to get
     a payment from the Settlement. Settlement Class Members may submit claims for up to five
     Siri Devices on which they claim to have experienced an unintended Siri activation during a
     conversation intended to be confidential or private. Settlement Class Members who submit
     valid claims shall receive a pro rata portion of the Net Settlement Amount for a Class Payment
     of up to a cap of $20 per Siri Device. The amount available to Settlement Class Members will
     increase or decrease pro rata depending on the total number of valid claims submitted, and Siri
     Devices claimed. Depending on the total number of valid claims, this Plan of Allocation is
     subject to modification by agreement of the Parties without further notice to Settlement Class
     Members, provided any such modification is approved by the Court. The final amount will not
     be known until all claims are evaluated. Please see the information in this Notice concerning
     payments.

•    Visit www.Lopezvoiceassistantsettlement.com to make a claim. If you received an email or
     postcard with a Claim Identification Code and a Confirmation Code notifying you about the
     Settlement, use these codes when making a claim. If you did not receive an email or postcard
     about the Settlement and don’t have these codes but believe you are a member of the Settlement


                      QUESTIONS? CALL -__________ OR VISIT
                   WWW.LOPEZVOICEASSISTANTSETTLEMENT.COM
                                     1
       Case 4:19-cv-04577-JSW          Document 336-2         Filed 12/31/24       Page 31 of 61

CONFIDENTIAL DRAFT SUBJECT TO FRE 408


      Class, you may still make a claim by going to www.Lopezvoiceassistantsettlement.com to
      make a claim and following the instruction on how to submit a Claim Form.

•     You can also opt out of or object to the Settlement.

•     Your rights are affected whether you act or don’t act. Please read this Notice carefully.

                    SUMMARY OF YOUR LEGAL RIGHTS AND OPTIONS

    Option                          Explanation                                    Deadline
    Stay in the Settlement Class,   If you receive an email or postcard            [DATE]
    File a Claim Form, and          notifying you that you may be a member
    Receive a Payment               of the Settlement Class, or you believe
                                    that you are a member of the Settlement
                                    Class, you must submit a valid Claim
                                    Form to receive a Class Payment.

                                    The Claim Form requires that you confirm
                                    or update your current contact information
                                    and confirm the following under oath:
                                    from September 17, 2014 to December 31,
                                    2024 (i) you purchased or owned a Siri
                                    Device in the United States or its
                                    territories and enabled Siri on that device,
                                    (ii) you experienced an unintended Siri
                                    activation, and (iii) the unintended Siri
                                    activation occurred during a conversation
                                    intended to be confidential or private. You
                                    may submit a Claim Form for up to five
                                    Siri Devices.

                                    This is the only way to get a payment.

                                    By receiving a payment, Settlement Class
                                    Members will give up rights and be bound
                                    by the Settlement.

    Exclude Yourself                Get no payment.                                [DATE]

                                    This is the only option that allows you to
                                    keep your right to bring any other claim
                                    against Apple arising out of or related to
                                    the claims in this case.




                       QUESTIONS? CALL -__________ OR VISIT
                    WWW.LOPEZVOICEASSISTANTSETTLEMENT.COM
                                      2
     Case 4:19-cv-04577-JSW                       Document 336-2                Filed 12/31/24             Page 32 of 61

CONFIDENTIAL DRAFT SUBJECT TO FRE 408


 Comment On or Object to                     You can write to the Court about why you                       [DATE]
 the Settlement and/or Attend                like or do not like the Settlement.
 a Hearing
                                             You cannot ask the Court to order a larger
                                             settlement.
 Do Nothing                                  Give up rights and be bound by the
                                             Settlement.


     •    These rights and options – and the deadlines to exercise them – are explained in this
          Notice.

     •    The Court in charge of this case still has to decide whether to approve the Settlement.
          Payments will be made if the Court approves the Settlement and after any appeals are
          resolved.

                                        WHAT THIS NOTICE CONTAINS
BASIC INFORMATION .............................................................................................................. 5
 1. Why did I get this Notice? ................................................................................................... 5
 2. What is this lawsuit about? .................................................................................................. 5
 3. What is a class action? ......................................................................................................... 5
 4. Why is there a Settlement? .................................................................................................. 5
WHO IS IN THE SETTLEMENT? ............................................................................................ 6
 5. Who is in the Settlement? .................................................................................................... 6
 6. What should I do if I am still not sure whether I am included? ........................................... 6
THE SETTLEMENT BENEFITS ............................................................................................... 6
 7. What does the Settlement provide?...................................................................................... 6
 8. Who can get money from the Settlement, and how much? ................................................. 6
 9. What am I giving up if I stay in the Class? .......................................................................... 7
HOW TO GET A PAYMENT ...................................................................................................... 7
 10.   How can I get a payment? ................................................................................................ 7
 11.   When will I get my payment? .......................................................................................... 7
 12.   How can I verify or update my mailing address?............................................................. 7
THE LAWYERS REPRESENTING THE CLASS ................................................................... 8
 13.   Do I have a lawyer in the case? ........................................................................................ 8
 14.   Should I get my own lawyer? ........................................................................................... 8
 15.   How will the lawyers be paid? ......................................................................................... 8
EXCLUDING YOURSELF FROM THE SETTLEMENT ...................................................... 8
 16.   How do I get out of the Settlement? ................................................................................. 8
 17.   If I don’t opt out, can I sue Apple for the same thing later?............................................. 9
 18.   What happens if I opt out? ............................................................................................... 9
OBJECTING TO THE SETTLEMENT .................................................................................... 9
 19.   How do I tell the Court if I do not like the Settlement? ................................................... 9
 20.   What is the difference between objection and excluding? ............................................. 10
THE COURT’S FINAL APPROVAL HEARING.................................................................... 10

                           QUESTIONS? CALL -__________ OR VISIT
                        WWW.LOPEZVOICEASSISTANTSETTLEMENT.COM
                                          3
      Case 4:19-cv-04577-JSW                      Document 336-2                 Filed 12/31/24             Page 33 of 61

CONFIDENTIAL DRAFT SUBJECT TO FRE 408


  21.   When and where will the Court decide whether to approve the Settlement? ................ 10
  22.   Do I have to come to the Final Approval Hearing?........................................................ 11
  23.   May I speak at the hearing?............................................................................................ 11
IF I DO NOTHING ......................................................................................................................11
  24.   What happens if I do nothing at all? .............................................................................. 11
GETTING MORE INFORMATION .........................................................................................11
  25.   Are more details about the Settlement available? .......................................................... 11
  26.   How do I get more information? .................................................................................... 12




                           QUESTIONS? CALL -__________ OR VISIT
                        WWW.LOPEZVOICEASSISTANTSETTLEMENT.COM
                                          4
     Case 4:19-cv-04577-JSW           Document 336-2         Filed 12/31/24      Page 34 of 61

CONFIDENTIAL DRAFT SUBJECT TO FRE 408


                                     BASIC INFORMATION

1.     Why did I get this Notice?

A court authorized this Notice because owners and purchasers of Siri Devices have the right to
know about a legal settlement. If you qualify as a Settlement Class Member, you can get a
payment.

To find out if you qualify, see Questions 5-6 below.

This Notice explains the lawsuit, the Settlement, your legal rights, what benefits are available, who
is eligible for them, and how to get them.

Judge Jeffrey S. White, of the United States District Court for the Northern District of California
is in charge of this case and will decide whether to approve the Settlement. The case is entitled
Lopez et al. v. Apple Inc., Case No. 4:19-cv-04577 (N.D. Cal.). PLEASE DO NOT CALL THE
COURT OR THE COURT CLERK’S OFFICE TO INQUIRE ABOUT THIS SETTLEMENT.

If you have questions about the Settlement, you can visit the website
www.Lopezvoiceassistantsettlement.com, call toll-free 1-[XXX-XXX-XXXX], or write to the
Settlement Administrator at the address below for more information.

                        [Placeholder for Settlement Administrator address]

2.     What is this lawsuit about?

Plaintiffs alleged that confidential or private communications by current or former owners or
purchasers of Siri Devices were obtained by Apple and/or shared with third parties as a result of
an unintended Siri activation, and brought claims including alleged violation of consumer
protection laws and privacy laws. Apple denies all of the allegations made in the lawsuit and
denies that Apple did anything improper or unlawful. Apple asserts numerous defenses to the
claims in this case. The proposed settlement to resolve this case is not an admission of guilt or
wrongdoing of any kind by Apple.

3.     What is a class action?

In a class action, one or more individuals and/or entities called “class representatives” sue on behalf
of themselves and other individuals and/or entities who have similar claims. This group of
individuals and/or entities is called the “class,” and the individuals and/or entities in the class are
called “class members.” One court resolves the issues for all class members, except for people
who exclude themselves from the class.

4.     Why is there a Settlement?

The Court did not decide in favor of the Plaintiffs or Apple. Instead, both sides agreed to a
Settlement. That way, they avoid the costs and risks of a trial, and the allegedly affected Settlement


                     QUESTIONS? CALL -__________ OR VISIT
                  WWW.LOPEZVOICEASSISTANTSETTLEMENT.COM
                                    5
     Case 4:19-cv-04577-JSW          Document 336-2         Filed 12/31/24      Page 35 of 61

CONFIDENTIAL DRAFT SUBJECT TO FRE 408


Class Members can get benefits or compensation. The class representatives and their attorneys
think the Settlement is best for the Class.

                              WHO IS IN THE SETTLEMENT?

5.     Who is in the Settlement?

The Settlement Class includes all individual current or former owners or purchasers of a Siri
Device, who reside in the United States or its territories, whose confidential or private
communications were obtained by Apple and/or were shared with third parties as a result of an
unintended Siri activation. The Settlement Class excludes Apple; any entity in which Apple has a
controlling interest; Apple’s directors, officers and employees; Apple’s legal representatives,
successors, and assigns; and judicial officers assigned to this case and their staff and immediate
families. The Class Period is September 17, 2014 to December 31, 2024.

6.     What should I do if I am still not sure whether I am included?

If you are still not sure whether you are included in the Settlement Class, you can visit the website
www.Lopezvoiceassistantsettlement.com, call toll-free 1-[XXX-XXX-XXXX], or write to the
Settlement Administrator at the address below for more information.

                        [Placeholder for Settlement Administrator address]

                               THE SETTLEMENT BENEFITS

7.     What does the Settlement provide?

Apple will pay $95 million into a settlement fund. After deduction of the costs of notice and
settlement administration, taxes, any award of attorneys’ fees, litigation costs, and any Service
Awards for the Class Representatives, the Net Settlement Amount will be distributed to Settlement
Class Members in accordance with a plan of allocation that accounts for the number of valid claims
submitted by the Settlement Class Members. The plan of allocation is described in detail in the
Settlement Agreement available at www.Lopezvoiceassistantsettlement.com.

We will not know the final amounts until the Settlement Administrator determines the total number
of eligible Settlement Class Members who submitted valid claims.

8.     Who can get money from the Settlement, and how much?

Settlement Class Members must submit a valid Claim Form to receive payment from the
Settlement. Settlement Class Members who submit valid claims shall receive a pro rata portion of
the Net Settlement Amount for a Class Payment of up to a cap of $20 per Siri Device. The amount
available to Settlement Class Members will increase or decrease pro rata depending on the total
number of valid claims submitted, and Siri Devices claimed. Depending on the total number of
valid claims, this Plan of Allocation is subject to modification by agreement of the Parties without
further notice to Settlement Class Members, provided any such modification is approved by the
Court. The final amount will not be known until all claims are evaluated. The plan of allocation

                     QUESTIONS? CALL -__________ OR VISIT
                  WWW.LOPEZVOICEASSISTANTSETTLEMENT.COM
                                    6
      Case 4:19-cv-04577-JSW          Document 336-2        Filed 12/31/24      Page 36 of 61

CONFIDENTIAL DRAFT SUBJECT TO FRE 408


is  described   in     detail   in    the            Settlement     Agreement        available     at
www.Lopezvoiceassistantsettlement.com.

9.       What am I giving up if I stay in the Class?

Unless you exclude yourself with an opt-out request (see Question 16), you cannot sue, continue
to sue, or be part of any other lawsuit against Apple arising out of or related to the claims in this
case. The “Releases” section in the Settlement Agreement describes the legal claims that you give
up if you remain a Settlement Class Member. The Settlement Agreement can be viewed at
www.Lopezvoiceassistantsettlement.com.

                                  HOW TO GET A PAYMENT

10.      How can I get a payment?

In order to receive a payment, you must complete and submit a valid Claim Form by [date]. You
can submit claims for up to five Siri Devices. The Claim Form requires that you confirm or update
your current contact information and confirm the following under oath: from September 17, 2014
to December 31, 2024 (i) you purchased or owned Siri Device in the United States or its territories
and enabled Siri on that device, (ii) you experienced an unintended Siri activation, and (iii) the
unintended Siri activation you experienced occurred during a conversation intended to be
confidential or private.

•     You can access the Claim Form on www.Lopezvoiceassistantsettlement.com. If you received
      an email or postcard with a Claim ID number notifying you about the Settlement, use your
      Claimant Identification Code and Confirmation Code when making a claim. If you did not
      receive an email or postcard about the Settlement and don’t have a Claim ID, but believe you
      are a member of the Settlement Class, you may still make a claim by going to
      www.Lopezvoiceassistantsettlement.com and following the instruction on how to submit a
      Claim Form. You may elect to receive payment by physical check, electronic check, or
      Automated Clearing House (“ACH,” a/k/a direct deposit). If you do not complete and submit
      a valid Claim Form, you will not receive a payment.

11.      When will I get my payment?

The Court will hold a hearing on __________, 2025, at __:00 _.m. (the “Final Approval Hearing”),
to decide whether to approve the Settlement. The Court may move the Final Approval Hearing to
a different date or time without providing further Notice to the Class. The date and time of the
Final Approval Hearing can be confirmed at www.Lopezvoiceassistantsettlement.com. If the
Settlement is approved, there may be appeals. The appeal process can take time. If there is no
appeal, your settlement benefit will be processed promptly. Please be patient.

Updates regarding the Settlement and when payments will be made will be posted at
www.Lopezvoiceassistantsettlement.com.

12.      How can I verify or update my mailing address?


                      QUESTIONS? CALL -__________ OR VISIT
                   WWW.LOPEZVOICEASSISTANTSETTLEMENT.COM
                                     7
      Case 4:19-cv-04577-JSW          Document 336-2        Filed 12/31/24      Page 37 of 61

CONFIDENTIAL DRAFT SUBJECT TO FRE 408


See Question 10, above.

                        THE LAWYERS REPRESENTING THE CLASS

13.      Do I have a lawyer in the case?

Yes. The Court appointed Christian Levis of Lowey Dannenberg, P.C. and Erin Green Comite
Scott + Scott Attorneys at Law LLP to represent you and the other Class Members. These firms
are called Class Counsel. You will not be charged for their services.

14.      Should I get my own lawyer?

You do not need to hire your own lawyer, as Class Counsel is working on your behalf. If you want
your own lawyer, you may hire one, but you will be responsible for any payment for that lawyer’s
services. For example, you can ask your own lawyer to appear in Court if you want someone other
than Class Counsel to speak for you. You may also appear for yourself without a lawyer.

15.      How will the lawyers be paid?

Plaintiffs’ Counsel will ask the Court for an award of attorneys’ fees of up to 30% of the Settlement
Fund, litigation expenses of up to $1,100,000, and Service Awards to the Class Representatives of
up to $10,000 each. The Court will determine these amounts. All of these amounts, as well as the
costs associated with notice and administering the Settlement, will be paid from the Settlement
Fund.

A copy of Plaintiffs’ Counsel’s Motion for Attorneys’ Fees and Expenses and for Class
Representative Service Awards will be available at www.Lopezvoiceassistantsettlement.com by
[date].

                    EXCLUDING YOURSELF FROM THE SETTLEMENT

If you do not want a payment from the Settlement and you want to keep your right, if any, to sue
Apple on your own about the legal issues in this case, then you must take steps to get out of the
Settlement. This is called excluding yourself from – or “opting out” of – the Settlement Class.

16.      How do I get out of the Settlement?

You may opt out of the Settlement by mailing your Request for Exclusion to the Claims
Administrator at

                              [Placeholder for Administrator address]

Your Request for Exclusion must:

•     Include your full name, address, and telephone number;
•     Include case name and number: Lopez et al. v. Apple Inc., Case No. 4:19-cv-04577 (N.D. Cal.);


                      QUESTIONS? CALL -__________ OR VISIT
                   WWW.LOPEZVOICEASSISTANTSETTLEMENT.COM
                                     8
      Case 4:19-cv-04577-JSW           Document 336-2         Filed 12/31/24      Page 38 of 61

CONFIDENTIAL DRAFT SUBJECT TO FRE 408


•     Include information sufficient to verify that you are a member of the Settlement Class (which
      may include any codes provided by the Settlement Administrator or any email address
      associated with your Siri Devices);
•     Be personally signed and dated by you; and
•     Contain a clear request that you would like to “opt out” or be excluded, by use of those or other
      words clearly indicating a desire not to participate in the Settlement.

Opt-out requests must be postmarked no later than [date].

17.      If I don’t opt out, can I sue Apple for the same thing later?

No. Unless you opt out, you give up the right to bring any other claim against Apple arising out
of or related to the claims in this case. You must exclude yourself from the Class if you want to
try to pursue your own lawsuit.

18.      What happens if I opt out?

If you opt out of the Settlement, you will not have any rights as a member of the Settlement Class
under the Settlement; you will not receive any payment as part of the Settlement; you will not be
bound by any further orders or judgments in this case; and you will keep the right, if any, to sue
on any claims against Apple arising out of or related to the claims in this case at your own expense.
If a Settlement Class Member submits both a Claim Form and a timely request for exclusion, the
exclusion shall take precedence and be considered valid and binding unless it is withdrawn.

                              OBJECTING TO THE SETTLEMENT

19.      How do I tell the Court if I do not like the Settlement?

If you are a member of the Settlement Class and do not opt out of the Settlement, you can ask the
Court to deny approval of the Settlement by filing an objection. You can also object to the
requested award of attorneys’ fees and expenses to Plaintiffs’ Counsel or Service Awards to the
Class Representatives. The Court will consider your views. You cannot ask the Court to order a
different settlement; the Court can only approve or reject the Settlement. If the Court denies
approval, no settlement payments will be sent out, and the lawsuit will continue. If that is what
you want to happen, you must object.

Any objection to the proposed Settlement must be in writing. If you file a timely written objection,
you may (but are not required to) appear at the Final Approval Hearing, either in person or through
your own attorney. If you appear through your own attorney, you are responsible for hiring and
paying that attorney.

To object, you must file a document with the Court saying that you object to the proposed
Settlement in Lopez et al. v. Apple Inc., Case No. 4:19-cv-04577 (N.D. Cal.). Be sure to include:




                       QUESTIONS? CALL -__________ OR VISIT
                    WWW.LOPEZVOICEASSISTANTSETTLEMENT.COM
                                      9
      Case 4:19-cv-04577-JSW           Document 336-2         Filed 12/31/24        Page 39 of 61

CONFIDENTIAL DRAFT SUBJECT TO FRE 408


      •   Your full name, mailing address, telephone number, email address, and signature. If you
          are represented by counsel, you must include your counsel’s name, mailing address, email
          address, and telephone number.
      •   The case name and number: Lopez et al. v. Apple Inc., Case No. 4:19-cv-04577 (N.D. Cal.).
      •   Information sufficient to verify that you are a member of the Settlement Class (which may
          include any codes provided by the Settlement Administrator or any email address
          associated with your Siri Devices).
      •   A detailed statement of your objection, including all the grounds for the objection together
          with any evidence that you think supports it.
      •   A statement whether the objection applies only to you, to a specific subset of the Settlement
          Class, or to the entire Settlement Class.
      •   A list of all cases in which you or your counsel have filed an objection within the past five
          years.
      •   A statement whether you or your counsel intends to speak at the Final Approval Hearing.

You can file the objection electronically at https://ecf.cand.uscourts.gov/, file the objection in
person at any location of the United States District Court for the Northern District of California,
or mail the objection by First Class U.S. Mail, so that it is submitted electronically or postmarked
no later than [date], to the following address:

                                            Clerk of Court
                      U.S. District Court for the Northern District of California
                                      450 Golden Gate Avenue
                                              Box 36060
                                      San Francisco, CA 94102
                                    Case No. 4:19-cv-04577-JSW

If you do not mail or electronically file the objection, you must have it delivered in person to the
above address no later than [date].

20.       What is the difference between objection and excluding?

Objecting is telling the Court that you do not like something about the Settlement. You can object
to the Settlement only if you do not exclude yourself from the Settlement. Excluding yourself
from the Settlement is opting out and telling the Court that you do not want to be part of the
Settlement. If you opt out of the Settlement, you cannot object to it because it no longer affects
you. You cannot both opt out and object to the Settlement.

                         THE COURT’S FINAL APPROVAL HEARING

21.       When and where will the Court decide whether to approve the Settlement?

The Court will hold a Final Approval Hearing on __________, 2025, at ___.m. at the United States
District Court for the Northern District of California, Oakland Courthouse, 1301 Clay Street,
Courtroom 5 – 2nd Floor, Oakland, CA 94612.

                       QUESTIONS? CALL -__________ OR VISIT
                    WWW.LOPEZVOICEASSISTANTSETTLEMENT.COM
                                      10
      Case 4:19-cv-04577-JSW          Document 336-2         Filed 12/31/24      Page 40 of 61

CONFIDENTIAL DRAFT SUBJECT TO FRE 408


At this hearing, the Court will consider whether the Settlement is fair, reasonable, and adequate.
If there are objections, the Court will consider them. The Court will listen to Settlement Class
Members who have asked to speak at the hearing.

The Court may also decide how much Class Counsel should receive in attorneys’ fees and expense
reimbursements and the Class Representatives should receive in Service Awards. After the
hearing, the Court will decide whether to approve the Settlement.

The Court may reschedule the Final Approval Hearing or change any of the deadlines described in
this Notice. The date of the Final Approval Hearing may change without further notice to Class
Members. Be sure to check the website, www.Lopezvoiceassistantsettlement.com, for news of
any such changes. You can also access the case docket via the Court’s Public Access to Court
Electronic Records (PACER) system at https://ecf.cand.uscourts.gov.

22.     Do I have to come to the Final Approval Hearing?

No. Class Counsel will answer any questions the Court may have. You may attend at your own
expense if you wish. If you send an objection, you do not have to come to the hearing to talk about
it. As long as you mailed your written objection on time, the Court will consider it. You may also
pay your own lawyer to attend, but that is not necessary.

23.     May I speak at the hearing?

You may ask the Court for permission to speak at the Final Approval Hearing. To do so, you must
include a statement in your written objection (see Question 19) that you intend to appear at the
hearing. Be sure to include your name, address, and signature as well.

You cannot speak at the hearing if you exclude yourself from the Class.

                                       IF I DO NOTHING

24.     What happens if I do nothing at all?

If you are a Class Member and you do nothing, you will not be eligible to receive a Class Payment.
However, you will still be bound by the Settlement. That is, you will not receive a payment, but
you will give up the rights explained in Question 9, including your right to start a lawsuit, continue
with a lawsuit, or be part of any other lawsuit against Apple related to the Lawsuit or for claims
that in any way are related to the subject matter of the claims in this Lawsuit.

                              GETTING MORE INFORMATION

25.     Are more details about the Settlement available?

Yes. This Notice summarizes the proposed Settlement – more details are in the Settlement
Agreement and other case documents. You can get a copy of these and other documents at
www.Lopezvoiceassistantsettlement.com or by accessing the docket in this case through the
Court’s Public Access to Court Electronic Records (PACER) system at

                     QUESTIONS? CALL -__________ OR VISIT
                  WWW.LOPEZVOICEASSISTANTSETTLEMENT.COM
                                    11
      Case 4:19-cv-04577-JSW          Document 336-2          Filed 12/31/24      Page 41 of 61

CONFIDENTIAL DRAFT SUBJECT TO FRE 408


https://ecf.cand.uscourts.gov, or by visiting the office of the Clerk of the Court for the United States
District Court for the Northern District of California at any of the Court’s locations between 9:00
a.m. and 4:00 p.m., Monday through Friday, excluding Court holidays.

PLEASE DO NOT CALL THE COURT OR THE COURT CLERK’S OFFICE TO INQUIRE
ABOUT THIS SETTLEMENT.

26.     How do I get more information?

The website, www.Lopezvoiceassistantsettlement.com, has answers to questions about the
Settlement, and other information to help you determine whether you are eligible for a payment.

You can either call or write to the Claims Administrator at:

                              [Placeholder for Administrator address]

Class Counsel can be reached using the following contact information:



Christian Levis                                    Erin Green Comite
LOWEY DANNENBERG, P.C.                             SCOTT+SCOTT ATTORNEYS AT LAW LLP
44 South Broadway, Suite 1100                      The Helmsley Building
White Plains, NY 10601                             230 Park Avenue, 24th Floor
Telephone: (914) 733-7205                          New York, NY 10169-1820
Facsimile: (914) 997-0035                          Telephone: (212) 223-6444
LopezVoiceAssistantSettlement@lowey.com            Facsimile: (212) 223-6334
                                                   lopezsettlement@scott-scott.com




                     QUESTIONS? CALL -__________ OR VISIT
                  WWW.LOPEZVOICEASSISTANTSETTLEMENT.COM
                                    12
Case 4:19-cv-04577-JSW   Document 336-2   Filed 12/31/24   Page 42 of 61




    EXHIBIT B
               (To the Settlement Agreement)
    Case 4:19-cv-04577-JSW            Document 336-2          Filed 12/31/24      Page 43 of 61

CONFIDENTIAL DRAFT SUBJECT TO FRE 408



To:            [Class Member Email Address]
From:          info@xxxx.com
Subject:       Lopez Voice Assistant Class Action Settlement


If you owned or purchased a Siri-enabled device and experienced an
     unintended Siri activation during a confidential or private
   communication between September 17, 2014 and December 31,
 2024, you should read this Notice as it may impact your legal rights
                                   «First Name» «Last Name»
                             Claimant Identification Code: «Notice ID»
                             Confirmation Code: «Confirmation Code»

A settlement has been reached with Apple Inc. (“Apple”) in a class action lawsuit brought on behalf
of current or former owners or purchasers of a Siri-enabled iPhone, iPad, Apple Watch, MacBook,
iMac, HomePod, iPod touch, or Apple TV (“Siri Device/Devices”) whose confidential or private
communications were allegedly obtained by Apple and/or shared with third parties as a result of
an unintended Siri activation. Apple denies all of the allegations made in the lawsuit and denies
that Apple did anything improper or unlawful. The proposed Settlement is not an admission of
guilt or wrongdoing of any kind by Apple. The United States District Court for the Northern
District of California approved this notice.

   •   Why am I receiving this notice?

Apple’s records indicate that you may be a member of the Settlement Class and may be entitled to
receive a payment. You are a member of the Settlement Class if you are a current or former owner
or purchaser of a Siri Device, you reside in the United States or its territories, and your confidential
or private communications were obtained by Apple and/or were shared with third parties as a result
of an unintended Siri activation between September 17, 2014 to December 31, 2024. Under the
terms of the Settlement, you are eligible to submit a Claim Form to receive a payment if the Court
approves the Settlement and it becomes final.

   •   What does the Settlement provide?

Apple has agreed to pay $95 million into a settlement fund. After deducting Court-approved
attorneys’ fees and expenses, Service Awards, and the costs of notice and settlement administration
(including any taxes), payments will be made from the Net Settlement Amount to Settlement Class
Members who submit a valid and timely Claim Form. For more information about how
distributions    will    be    made     to   Settlement      Class     Members,      please    visit
www.Lopezvoiceassistantsettlement.com.
    Case 4:19-cv-04577-JSW            Document 336-2         Filed 12/31/24      Page 44 of 61

CONFIDENTIAL DRAFT SUBJECT TO FRE 408


   •   What are the expected payments?

Settlement Class Members may submit claims for up to five Siri Devices on which they claim to
have experienced an unintended Siri activation during a conversation intended to be confidential
or private. Settlement Class Members who submit valid claims shall receive a pro rata portion of
the Net Settlement Amount for a Class Payment up to a cap of $20 per Siri Device. The amount
available to Settlement Class Members will increase or decrease pro rata depending on the total
number of valid claims submitted, and Siri Devices claimed. The final amount will not be known
until all claims are evaluated. The plan of allocation is described in detail in the Settlement
Agreement available at www.Lopezvoiceassistantsettlement.com. Depending on the total
number of valid claims, this Plan of Allocation is subject to modification by agreement of the
Parties without further notice to members of the Settlement Class, provided any such modification
is approved by the Court.

   •   How do I file a claim?

In order to receive a payment, you must complete and submit a valid Claim Form by [date].
You may submit claims for up to five Siri Devices. Claims may be submitted online at
www.Lopezvoiceassistantsettlement.com or mailed to the address on the form. If you submit a
Claim Form by mail, it must be post-marked by [date]. The Claim Form requires that you confirm
or update your current contact information and confirm the following under oath: from September
17, 2014 to December 31, 2024, (i) you purchased or owned a Siri Device in the United States or
its territories and enabled Siri on that device, (ii) you experienced an unintended Siri activation,
and (iii) the unintended Siri activation you experienced occurred during a conversation intended
to be confidential or private.

You can access the Claim Form on www.Lopezvoiceassistantsettlement.com. If you received an
email or postcard with a Claimant Identification Code and Confirmation Code notifying you about
the Settlement, use these codes when making a claim. If you did not receive an email or postcard
about the Settlement and don’t have a Claimant Identification Code and Confirmation Code, but
believe you are a member of the Settlement Class, you may still make a claim by going to
www.Lopezvoiceassistantsettlement.com and following the instruction on how to submit a
Claim Form. You may elect to receive payment by physical check, electronic check, or Automated
Clearing House (“ACH,” a/k/a direct deposit). If you do not complete and submit a valid Claim
Form, you will not receive a payment.

For more information and to                      review     the    full    notice,    please     visit
www.Lopezvoiceassistantsettlement.com

   •   What are my other options?

You can do nothing, exclude yourself or object. If you do nothing, your rights will be affected and
you won’t get a payment. If you don’t want to be legally bound by the Settlement Agreement, you
must exclude yourself from it by [date]. Unless you exclude yourself, you will not be able to sue
or continue to sue Apple for any claim arising out of or related to the claims in this case. If you
stay in the Settlement (i.e., do not exclude yourself), you may object to it or ask for permission for
    Case 4:19-cv-04577-JSW              Document 336-2             Filed 12/31/24          Page 45 of 61

CONFIDENTIAL DRAFT SUBJECT TO FRE 408


you or your own lawyer to appear and speak at the Final Approval Hearing – at your own cost –
but you do not have to do so.
A copy of Plaintiffs’ Counsel’s Motion for Attorneys’ Fees and Expenses and for Service Awards
will be available at www.Lopezvoiceassistantsettlement.com by [date]. You can object to the
requested award of attorneys’ fees and expenses to Plaintiffs’ Counsel or Service Awards to the
Class Representatives.
Objections to the settlement, attorneys’ fees, and/or Service Awards and requests to appear are due
by [date]. The Final Approval Hearing will be held on [date], at [time], at the United States
District Court for the Northern District of California, Oakland Courthouse, 1301 Clay Street,
Courtroom 5 – 2nd Floor, Oakland, CA 94612.

More information about your options is in the detailed notice available at
www.Lopezvoiceassistantsettlement.com, or you may contact the Settlement Administrator with
any questions:
   •   [Settlement Administrator contact information]
You may also access the docket in this case through the Court’s Public Access to Court Electronic
Records (PACER) system at https://ecf.cand.uscourts.gov, or by visiting the office of the Clerk of
the Court for the United States District Court for the Northern District of California at any of the
Court’s locations between 9:00 a.m. and 4:00 p.m., Monday through Friday, excluding Court
holidays.
PLEASE DO NOT CALL THE COURT OR THE COURT CLERK’S OFFICE TO INQUIRE
ABOUT THIS SETTLEMENT
BY ORDER OF THE U.S. DISTRICT COURT FOR THE NORTHERN DISTRICT OF
CALIFORNIA.
                 To unsubscribe from this list, please click on the following link: Unsubscribe
Case 4:19-cv-04577-JSW   Document 336-2   Filed 12/31/24   Page 46 of 61




   EXHIBIT C
               (To the Settlement Agreement)
                Case 4:19-cv-04577-JSW   Document 336-2   Filed 12/31/24   Page 47 of 61

CONFIDENTIAL DRAFT SUBJECT TO FRE 408


           IMPORTANT NOTICE ABOUT A CLASS ACTION LAWSUIT


If you owned or purchased a Siri-enabled device and experienced an unintended Siri activation
  during a confidential or private communication between September 17, 2014 and December
            31, 2024, you should read this Notice as it may impact your legal rights
                                           <<Barcode>>


                                 Notice ID: A2E-<<NoticeID>>-
                                          <<MailRec>>
                                     <<First1>> <<Last 1>>
                                             <<CO>>
                                    <<Addr1>> <<Addr2>>
                                   <<City>>, <<St>> <<Zip>>
                                          <<Country>>
                       Case 4:19-cv-04577-JSW            Document 336-2        Filed 12/31/24      Page 48 of 61

CONFIDENTIAL DRAFT SUBJECT TO FRE 408


A settlement has been reached with Apple Inc. (“Apple”) in a class action lawsuit alleging that current or former owners or purchasers
of a Siri-enabled iPhone, iPad, Apple Watch, MacBook, iMac, HomePod, iPod touch, or Apple TV (“Siri Device/Devices”) whose
confidential or private communications were allegedly obtained by Apple and/or shared with third parties as a result of an unintended
Siri activation. Apple denies all allegations made in the lawsuit and denies that Apple did anything improper or unlawful.
Who’s included? The Settlement Class includes all individual current or former owners or purchasers of a Siri Device who reside in
the United States or its territories, and whose confidential or private communications were obtained by Apple and/or were shared with
third parties as a result of an unintended Siri activation. The Settlement Class excludes Apple; any entity in which Apple has a controlling
interest; Apple’s directors, officers, and employees; Apple’s legal representatives, successors, and assigns; and all judicial officers
assigned to this case and their staff and immediate families. The Class Period is September 17, 2014 to December 31, 2024.
What does the Settlement provide? Apple has agreed to pay $95 million into a settlement fund. After deducting Court-approved
attorneys’ fees and expenses, Service Awards, and the costs of notice and settlement administration (including any taxes), payments will
be made from the Net Settlement Amount to Settlement Class Members who submit a valid and timely Claim Form.
According to Apple’s records, you are a Settlement Class Member and are eligible to receive a payment if the Court approves the
Settlement and it becomes final. Settlement Class Members who submit valid claims shall receive a pro rata portion of the Net Settlement
Amount for a Class Payment of up to a cap of $20 per Siri Device. The amount available to Settlement Class Members will increase or
decrease pro rata depending on the total number of valid claims submitted, and Siri Devices claimed. Depending on the total number
of valid claims, this Plan of Allocation is subject to modification by agreement of the Parties without further notice to Settlement Class
Members, provided any such modification is approved by the Court. The final amount will not be known until all claims are evaluated.
How do you get a payment?              You must complete and submit a valid Claim Form by [date]. Go to
www.Lopezvoiceassistantsettlement.com for the Claim Form and instructions. You may submit claims for up to five Siri Devices.
Claims may be submitted online at www.Lopezvoiceassistantsettlement.com or mailed to the address on the form.
What are your other options? You can do nothing, exclude yourself, or object. If you do nothing, your rights will be affected and you
won’t receive a payment. You will give up your right to sue or continue to sue Apple for any claim arising out of or related to the claims
in this case. If you don’t want to be legally bound by the Settlement, you must exclude yourself from it by [date]. You may also remain
in the Settlement Class but object to the Settlement, and you may (but do not have to) attend the Court’s Final Approval Hearing to
speak about your objection. A copy of Plaintiffs’ Counsel’s Motion for Attorneys’ Fees and Expenses and for Service Awards will be
available at www.Lopezvoiceassistantsettlement.com by [date]. You can also object to the requested award of attorneys’ fees and
                       Case 4:19-cv-04577-JSW          Document 336-2        Filed 12/31/24      Page 49 of 61

CONFIDENTIAL DRAFT SUBJECT TO FRE 408


expenses to Class Counsel or Service Awards to the Class Representatives. Your objection to the settlement, attorneys’ fees, and/or
Service Awards must be filed or postmarked by [date].
For more information about the Settlement, your payment, how to exclude yourself or object, and attending the hearing, please
visit the website or call the toll-free number below.
                                  www.Lopezvoiceassistantsettlement.com – 1-XXX-XXX-XXXX
You may also access the docket in this case through the Court’s Public Access to Court Electronic Records (PACER) system at
https://ecf.cand.uscourts.gov, or by visiting the office of the Clerk of the Court for the United States District Court for the Northern
District of California at any of the Court’s locations between 9:00 a.m. and 4:00 p.m., Monday through Friday, excluding Court holidays.
Case 4:19-cv-04577-JSW   Document 336-2   Filed 12/31/24   Page 50 of 61




   EXHIBIT D
               (To the Settlement Agreement)
 Case 4:19-cv-04577-JSW         Document 336-2         Filed 12/31/24   Page 51 of 61




 1                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA
 2                                 OAKLAND DIVISION
 3
                                                        Docket No.: 4:19-cv-04577- JSW (SK)
 4   FUMIKO LOPEZ, FUMIKO LOPEZ, as
     Guardian of A.L., a Minor, JOHN TROY               [PROPOSED] ORDER GRANTING
 5   PAPPAS, and DAVID YACUBIAN, Individually           MOTION FOR PRELIMINARY
     and on Behalf of All Others Similarly Situated,    APPROVAL OF CLASS ACTION
 6                                                      SETTLEMENT; PRELIMINARILY
                          Plaintiffs,                   CERTIFYING SETTLEMENT CLASS;
 7
                                                        AND APPROVING FORM AND
 8   v.                                                 CONTENT OF CLASS NOTICE

 9   APPLE INC.,
10                        Defendant.
11

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                            [PROPOSED] ORDER GRANTING PRELIMINARY APPROVAL
                                       Case No. 4:19-cv-04577-JSW
 Case 4:19-cv-04577-JSW            Document 336-2         Filed 12/31/24     Page 52 of 61




 1
            This matter comes before the Court on Plaintiffs’ Motion for Preliminary Approval of Class
 2
     Action Settlement (“Motion”).
 3
            WHEREAS, Fumiko Lopez, Fumiko Lopez as Guardian of A.L., a Minor, John Troy
 4
     Pappas, and David Yacubian (collectively, “Plaintiffs”), and Defendant, Apple Inc. (“Defendant”
 5
     or “Apple,” and with Plaintiffs, the “Parties”) entered into a Settlement Agreement and Release
 6
     (“Settlement Agreement”) on December 31, 2024 (ECF No.__), which sets forth the terms and
 7
     conditions for a proposed resolution of this litigation and for its dismissal with prejudice upon the
 8
     terms and conditions set forth therein, subject to Court approval;
 9
            WHEREAS, Plaintiffs have filed a Motion for Preliminary Approval of Class Action
10
     Settlement (ECF No. ___);
11
            WHEREAS, the Settlement before the Court is the product of extensive negotiations,
12
     including by mediation before Fouad Kurdi, Esq.;
13
            WHEREAS, Apple denies any and all liability but does not oppose the Motion;
14
            WHEREAS, this Court has reviewed the Settlement Agreement entered into by the Parties,
15
     all exhibits thereto, the record in this case, and Plaintiffs’ Motion for Preliminary Approval of
16
     Class Action Settlement, the Memorandum of Points and Authorities in Support Thereof, and the
17
     supporting Declarations;
18
            WHEREAS, this Court preliminarily finds, for the purpose of settlement only, that the
19
     Settlement Class meets all the prerequisites of Federal Rule of Civil Procedure 23 for class
20
     certification, including numerosity, commonality, typicality, predominance of common issues,
21
     superiority, and that the Plaintiffs and Plaintiffs’ Counsel are adequate representatives of the
22
     Settlement Class;
23
            GOOD CAUSE APPEARING, PLAINTIFFS’ MOTION IS GRANTED. IT IS
24
     HEREBY ORDERED AS FOLLOWS:
25
            1.      All terms and definitions used herein have the same meanings as set forth in the
26
     Settlement Agreement.
27

28

                                                      1
                                [PROPOSED] ORDER GRANTING PRELIMINARY APPROVAL
                                           Case No. 4:19-cv-04577-JSW
 Case 4:19-cv-04577-JSW           Document 336-2          Filed 12/31/24      Page 53 of 61




 1                              Preliminary Approval of Settlement and
                   Certification of Settlement Class for Purposes of Settlement Only
 2
            2.      The Settlement is hereby preliminarily approved as fair, reasonable, and adequate
 3
     such that Notice thereof should be given to members of the Settlement Class.
 4
            3.      Under Federal Rule of Civil Procedure 23(a) and (b)(3), the Settlement Class is
 5
     preliminarily certified for the purpose of Settlement only as follows:
 6
            All individual current or former owners or purchasers of a Siri Device, who reside
 7
            in the United States and its territories, whose confidential or private
 8
            communications were obtained by Apple and/or were shared with third parties as a
 9
            result of an unintended Siri activation between September 17, 2014 and December
10
            31, 2024.
11

12          The Settlement Agreement defines “Siri Device” as a Siri-enabled iPhone, iPad, Apple

13 Watch, MacBook, iMac, HomePod, iPod touch, or Apple TV.

14          Excluded from the Class are Apple; any entity in which Apple has a controlling interest;
15 Apple’s directors, officers, and employees; Apple’s legal representatives, successors, and assigns.

16 Also excluded from the Settlement Class are all judicial officers assigned to this case as well as

17 their staff and immediate families.

18          4.      If the Settlement Agreement is not finally approved by this Court, or if such final
19 approval is reversed or materially modified on appeal by any court, this Order (including but not

20 limited to the conditional certification of the Settlement Class) shall be vacated, null and void, and

21 of no force or effect, and Plaintiffs and Apple shall be entitled to make any argument for or against

22 certification for litigation purposes.

23          5.      Plaintiffs are appointed as class representatives of the Settlement Class. Christian
24 Levis of Lowey Dannenberg, P.C. and Erin Green Comite of Scott + Scott Attorneys at Law LLP,

25 together with their law firms, are hereby appointed as Class Counsel to represent the proposed

26 Settlement Class.

27

28

                                                      2
                              [PROPOSED] ORDER GRANTING PRELIMINARY APPROVAL
                                         Case No. 4:19-cv-04577-JSW
 Case 4:19-cv-04577-JSW            Document 336-2        Filed 12/31/24     Page 54 of 61




 1
            Appointment of Settlement Administrator and Notice to the Settlement Class
 2
            6.        The Court appoints Angeion Group (“Angeion”) to serve as the Settlement
 3
     Administrator. Angeion shall supervise and administer the Notice plan, establish and operate the
 4
     Settlement Website, administer the claims processes, distribute Class Payments according to the
 5
     processes and criteria set forth in the Settlement Agreement, and perform any other duties that are
 6
     reasonably necessary and/or provided for in the Settlement Agreement. The Settlement
 7
     Administrator shall act in compliance with the Stipulated Protective Order, ECF No. 95, including
 8
     but not limited to making all necessary efforts and precautions to ensure the security and privacy
 9
     of Settlement Class member information and protect it from loss, misuse, unauthorized access and
10
     disclosure, and to protect against any reasonably anticipated threats or hazards to the security of
11
     Settlement Class member information; not using the information provided by Defendant or Class
12
     Counsel in connection with the Settlement or the notice plan herein for any purposes other than
13
     providing notice or conducting settlement administration in this Action; and not sharing Settlement
14
     Class member information with any third parties without advance consent from the Parties.
15
            7.        All reasonable costs of Notice and costs of administering the Settlement shall be
16
     paid from the Gross Settlement Amount as contemplated by the Settlement Agreement. No later
17
     than thirty (30) days after entry of this Order, Apple shall transfer an amount sufficient to cover
18
     the Settlement Administrator’s estimated cost for notice and administration to the Settlement
19
     Administrator.
20
            8.        The Court approves the Email Notice, Postcard Notice, and Full Class Notice,
21
     attached as Exhibits A-C of the Settlement Agreement, and the Claim Form filed as ECF No.
22
     _____, and finds that their dissemination in the manner set forth in the Settlement Agreement and
23
     in the Declaration of Steven Weisbrot substantially meets the requirements of Federal Rule of Civil
24
     Procedure 23 and due process, constitutes the best notice practicable under the circumstances, and
25
     is reasonably calculated, under the circumstances, to apprise members of the Settlement Class of
26
     the pendency of the Lawsuit, the effect of the proposed Settlement (including the releases
27
     contained therein), the anticipated motion for Attorneys’ Fees and Expenses Payment, and Service
28
     Awards, and their rights to participate in, request exclusion from, or object to any aspect of the
                                                      3
                               [PROPOSED] ORDER GRANTING PRELIMINARY APPROVAL
                                          Case No. 4:19-cv-04577-JSW
 Case 4:19-cv-04577-JSW           Document 336-2         Filed 12/31/24     Page 55 of 61




 1
     proposed Settlement. Non-material modifications to the notices may be made by the Settlement
 2
     Administrator without further order of the Court, so long as they are approved by the Parties and
 3
     consistent in all material respects with the Settlement Agreement and this Order.
 4
            9.      By no later than thirty (30) days after entry of this Order, Apple shall, for the
 5
     purpose of facilitating the proposed Notice plan, provide to the Settlement Administrator the
 6
     names and contact information for all members of the Settlement Class for whom it has records.
 7
            10.     By no later than forty-five (45) days from the date specified in paragraph 9 above
 8
     (the “Notice Date”), the Settlement Administrator shall commence the transmission/publication of
 9
     the Email Notice and Publication Notice. The Settlement Administrator shall also publish the
10
     Settlement Website pursuant to the terms of the Settlement Agreement and the Weisbrot
11
     Declaration. The Settlement Website shall contain case-related documents including, but not
12
     limited to, the operative complaint and answer to that complaint, the Settlement Agreement, the
13
     Preliminary Approval Order, Full Class Notice, Plaintiffs’ forthcoming motions for final approval
14
     of the Settlement and for Attorneys’ Fees and Expenses Payment, and Service Awards, a set of
15
     frequently asked questions and answers, information on how to submit an objection or request
16
     exclusion from the Settlement, and contact information for the Settlement Administrator and Class
17
     Counsel.
18
            11.     By no later than thirty-five (35) days before the Final Approval Hearing, the
19
     Settlement Administrator shall submit to the Court its declaration concerning the implementation
20
     of the Notice plan and report of any requests for exclusion.
21
                                             Claim Submission
22
            12.     Settlement Class Members who wish to make a claim must do so by submitting a
23
     Claim Form online or by mail on or before the end of the Claim Period by one hundred thirty-five
24
     (135) days after entry of this Order (“Claims Filing Deadline”), in accordance with the instructions
25
     contained in the Full Class Notice. The Settlement Administrator shall determine the eligibility of
26
     claims submitted and allocate the Net Settlement Amount in accordance with the Settlement
27
     Agreement. The Settlement Administrator’s determinations on the validity and eligibility of
28
     Claims shall be final and non-appealable by Settlement Class Members.
                                                     4
                              [PROPOSED] ORDER GRANTING PRELIMINARY APPROVAL
                                         Case No. 4:19-cv-04577-JSW
 Case 4:19-cv-04577-JSW           Document 336-2         Filed 12/31/24      Page 56 of 61




 1
            13.     Settlement Class Members may submit claims for up to five Siri Devices on which
 2
     they claim to have experienced an unintended Siri activation during a conversation intended to be
 3
     confidential or private. Settlement Class Members who submit valid claims shall receive a pro
 4
     rata portion of the Net Settlement Amount for a Class Payment up to a cap of $20 per Siri Device.
 5
     The amount available to Settlement Class Members will increase or decrease pro rata depending
 6
     on the total number of valid claims submitted, and Siri Devices claimed. Depending on the total
 7
     number of valid claims, this Plan of Allocation is subject to modification by agreement of the
 8
     Parties without further notice to members of the members of the Settlement Class Members,
 9
     provided any such modification is approved by the Court.
10
                                                Objections
11
            14.     Any Settlement Class Member who has not submitted a timely written request for
12
     exclusion and who wishes to object to the fairness, reasonableness, or adequacy of the Settlement
13
     Agreement, proposed plan of allocation, Attorneys’ Fees and Expense Payment, or Service Awards
14
     must submit a timely written objection to the Court that:
15
                    a.     Includes the full name, address, telephone number, and email address of
16                         the objector and any counsel representing the objector;
17                  b.     Clearly identifies the case name and number: Lopez et al. v. Apple Inc.,
                           Case No. 4:19-cv-04577 (N.D. Cal.);
18

19                  c.     Includes information sufficient to verify that the objector is a Settlement
                           Class Member (which may include a Claimant Identification Code and/or
20                         Confirmation Code provided by the Settlement Administrator;

21                  d.     Includes a detailed statement of the grounds and evidence upon which the
                           Objection is based;
22
                    e.     States whether the Objection applies only to the objector, to a specific
23                         subset of the class, or to the entire class;
24
                    f.     Includes a list of all cases in which the Objector or his or her counsel has
25                         filed an objection within the past five years; and

26                  g.     Is personally signed and dated by the objector.

27
            15.     Objections must be submitted at least sixty (60) days after the Notice Date
28

                                                     5
                              [PROPOSED] ORDER GRANTING PRELIMINARY APPROVAL
                                         Case No. 4:19-cv-04577-JSW
 Case 4:19-cv-04577-JSW            Document 336-2          Filed 12/31/24     Page 57 of 61




 1
     (“Objection and Exclusion Deadline”). If submitted through ECF, objections must be submitted
 2
     no later than 11:59 p.m. Pacific Time on the Objection and Exclusion Deadline. If submitted by
 3
     U.S. Mail, objections must be postmarked by the Objection and Exclusion Deadline and mailed or
 4
     delivered to the Clerk of Court, United States District Court for the Northern District of California,
 5
     450 Golden Gate Avenue, Box 36060, San Francisco, CA 94102. The date of the postmark on the
 6
     envelope containing the written statement objecting to the Settlement will be the exclusive means
 7
     used to determine whether an Objection and/or intention to appear has been timely submitted. In
 8
     the event a postmark is illegible or unavailable, the date of mailing will be deemed to be three days
 9
     prior to the date that the Court posts the objection on the electronic case docket.
10
            16.     Any objector who timely submits an objection has the option to appear and request
11
     to be heard at the Final Approval Hearing, either in person or through the objector’s counsel. Any
12
     objector wishing to appear and be heard at the Final Approval Hearing must include a Notice of
13
     Intention to Appear in the body of the objector’s objection. If an objector makes an objection
14
     through an attorney, the objector shall be solely responsible for the objector’s attorneys’ fees and
15
     expenses. Counsel for any objector seeking to appear at the Final Approval Hearing must enter a
16
     Notice of Appearance no later than 14 days before the hearing.
17
            17.     Settlement Class Members who fail to submit timely written objections in the
18
     manner specified above shall be deemed to have waived any objections and shall be foreclosed
19
     from making any objection to the Agreement and the proposed Settlement by appearing at the
20
     Final Approval Hearing, or through appeal, collateral attack, or otherwise. If a Settlement Class
21
     Member does not submit a timely written objection, the Settlement Class Member will not be able
22
     to participate in the Final Approval Hearing.
23
            18.     The Class Representatives, Class Counsel, and/or Apple may file responses to any
24
     timely written Objections no later than seven (7) days prior to the Final Approval Hearing.
25
                                           Requests for Exclusion
26
            19.     Any putative member of the Settlement Class who seeks to be excluded from the
27
     Settlement Class must submit a written request for exclusion to the Settlement Administrator by
28

                                                       6
                               [PROPOSED] ORDER GRANTING PRELIMINARY APPROVAL
                                          Case No. 4:19-cv-04577-JSW
 Case 4:19-cv-04577-JSW             Document 336-2        Filed 12/31/24     Page 58 of 61




 1
     U.S. Mail, postmarked no later than the Objection and Exclusion Deadline as described in the Full
 2
     Class Notice and the Settlement Website.
 3
            20.        Settlement Class Members who wish to request exclusion from the Settlement
 4
     Class must include the Settlement Class Member’s name, address, telephone number, and
 5
     information sufficient to verify that the individual is a member of the Settlement Class (which may
 6
     include a Claimant Identification Code and/or Confirmation Code); include case name and
 7
     number: Lopez et al. v. Apple Inc., Case No. 4:19-cv-04577 (N.D. Cal.); personally sign and date
 8
     the Request; and make a clear request that the individual would like to “opt out” or be excluded,
 9
     by use of those or other words clearly indicating a desire not to participate in the Settlement.
10
            21.        Any member of the Settlement Class who does not submit a valid and timely
11
     request for exclusion shall be bound by the final judgment dismissing the Lawsuit on the merits
12
     with prejudice.
13
            22.     Any person who validly and timely requests exclusion from the Settlement shall
14
     not be a Settlement Class Member; shall not be bound by the Agreement; shall not be eligible to
15
     apply for or receive any benefit under the terms of the Agreement; and shall not be entitled to
16
     submit an objection to the Settlement. If a Settlement Class Member submits both a Claim Form
17
     and a timely exclusion request, the exclusion shall take precedence and be considered valid and
18
     binding unless it is withdrawn.
19
                                          Final Approval Hearing
20
            23.        The Final Approval Hearing shall be held by the Court on _______________, 2025
21
     [a date convenient for the Court no sooner than forty-five (45) days after the Objection and
22
     Exclusion Deadline], beginning at __:___ __.m., to determine whether the requirements for final
23
     certification of the Settlement Class have been met; whether the proposed settlement of the
24
     Lawsuit on the terms set forth in the Settlement should be approved as fair, reasonable, and
25
     adequate, and in the best interest of the Settlement Class Members; whether Class Counsel’s
26
     motion for Attorneys’ Fees and Expenses Payment and Service Awards should be approved; and
27
     whether final judgment approving the Settlement and dismissing the Lawsuit on the merits with
28

                                                      7
                                [PROPOSED] ORDER GRANTING PRELIMINARY APPROVAL
                                           Case No. 4:19-cv-04577-JSW
 Case 4:19-cv-04577-JSW           Document 336-2         Filed 12/31/24      Page 59 of 61




 1
     prejudice should be entered. The Final Approval Hearing may, without further notice to the
 2
     Settlement Class Members, be continued or adjourned by order of the Court.
 3
            24.     At least 35 days before the Final Approval Hearing, Class Counsel shall file papers
 4
     in support of the motion for final approval of the Settlement.
 5
            25.     At least 35 days before the Objection and Exclusion Deadline, Class Counsel shall
 6
     file all papers in support of their forthcoming motion for attorneys’ fees, reimbursement of
 7
     litigation expenses, and Service Awards.
 8
            26.     At least seven (7) days before the Final Approval Hearing, Class Representatives,
 9
     Class Counsel, and/or Apple may file a response to any timely written objections received, and the
10
     Parties shall file any additional papers in support of the Motion for the Final Approval Order and
11
     Final Judgment.
12
            27.     Plaintiffs’ Counsel and Apple Counsel are hereby authorized to utilize all
13
     reasonable procedures in connection with the administration of the Settlement, which are not
14
     materially inconsistent with either this Order or the Settlement Agreement.
15
                          Termination of the Settlement and Use of this Order
16
            28.     If the Settlement fails to become effective in accordance with its terms, or if the
17
     Final Order and Judgment is not entered or is reversed or vacated on appeal, this Order shall be
18
     null and void, the Settlement Agreement shall be deemed terminated, and the Parties shall return
19
     to their positions without any prejudice, as provided for in the Settlement Agreement. The fact and
20
     terms of this Order or the Settlement, all negotiations, discussions, drafts and proceedings in
21
     connection with this Order or the Settlement, and any act performed or document signed in
22
     connection with this Order or the Settlement, shall not, in this or any other Court, administrative
23
     agency, arbitration forum, or other tribunal, constitute an admission, or evidence, or be deemed to
24
     create any inference (i) of any acts of wrongdoing or lack of wrongdoing, (ii) of any liability on
25
     the part of Defendant to Plaintiffs, the Settlement Class, or anyone else, (iii) of any deficiency of
26
     any claim or defense that has been or could have been asserted in this Lawsuit, (iv) of any damages
27
     or absence of damages suffered by Plaintiffs, the Settlement Class, or anyone else, or (v) that any
28
     benefits obtained by the Settlement Class under the Settlement represent the amount that could or
                                                     8
                              [PROPOSED] ORDER GRANTING PRELIMINARY APPROVAL
                                         Case No. 4:19-cv-04577-JSW
 Case 4:19-cv-04577-JSW             Document 336-2        Filed 12/31/24     Page 60 of 61




 1
     would have been recovered from Defendant in this Lawsuit if it were not settled at this time. The
 2
     fact and terms of this Order or the Settlement, and all negotiations, discussions, drafts, and
 3
     proceedings associated with this Order or the Settlement, including the judgment and the release
 4
     of the Released Claims provided for in the Settlement Agreement, shall not be offered or received
 5
     in evidence or used for any other purpose in this or any other proceeding in any court,
 6
     administrative agency, arbitration forum, or other tribunal, except as necessary to enforce the terms
 7
     of this Order, the Final Order and Judgment, and/or the Settlement.
 8
            29.     The schedule of events referenced above should occur as follows:
 9
           Event                         Timing                                  Date
10
           Apple      to     provide No later than thirty (30) days after
11         Settlement Class Member entry of this Preliminary Approval
12         List   (“Data    Transfer Order
           Date”)
13
           Notice to      the      Class No later than forty-five (45) days
14         commences            (“Notice after Data Transfer Date
           Date”)
15
           Deadline to File Class No later than thirty-five (35) days
16
           Counsel’s Motion for before Objection and Exclusion
17         Attorneys’   Fees    and Deadline.
           Expenses and Plaintiff’s
18         Request    for    Service
           Awards
19
           Deadline to file Motion for No later than thirty-five (35) days
20         Final Approval of the before Final Approval Hearing.
21         Settlement

22         Claims Filing Deadline        One hundred thirty-five (135) days
                                         after entry of the Preliminary
23                                       Approval Order.
24         Objection and Exclusion At least sixty (60) days after the
           Deadline                Notice Date, and same date as Claim
25
                                   Filing Deadline
26

27

28

                                                      9
                                [PROPOSED] ORDER GRANTING PRELIMINARY APPROVAL
                                           Case No. 4:19-cv-04577-JSW
 Case 4:19-cv-04577-JSW       Document 336-2         Filed 12/31/24     Page 61 of 61




 1       Event                     Timing                                    Date
 2       Deadline to File Opt-Out No later than thirty-five (35) days
         List   and     Settlement before Final Approval Hearing
 3
         Administrator Declaration
 4       concerning Notice and
         Opt-Outs
 5
         Deadline      to File No later than seven (7) days prior to
 6       Oppositions        to the Final Approval Hearing.
         Objections/Reply
 7       Memorandum in Support
 8       of Motions

 9       Final Approval Hearing    At least forty-five (45) days after the
                                   Objection and Exclusion Deadline.
10

11

12
     IT IS SO ORDERED.
13

14 Dated: _____________ 2025                          /s/__________________________
                                                      JEFFREY S. WHITE
15                                                    Hon. United States District Judge

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                                                10
                          [PROPOSED] ORDER GRANTING PRELIMINARY APPROVAL
                                     Case No. 4:19-cv-04577-JSW
